Case 7:21-cv-00471-TTC Document1 Filed 09/10/21 Page 1of146 Pageid#: 1

CLERK'S OFFICE U.S. DIST. COURT
AT ROANOKE, VA
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IN THE UNITED STATES DISCTRICT CouRT > | 9 02!
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JUL
FOR THE WESTERN DISTRICT OF VIRGINIA: x
ROANOKE DIVSION

No_ TL ZUCUOOUN

Commonwealth of Virginia

AMENDED
RESPONDENT’S NOTICE OF
REMOVAL NO: 7:21-cv-00448
PURSUANT

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Petitioner , )
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| ) 28 U.S.C. §1331, §1441, & §1443
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CASE NO. CL20-827
ALLEGHANY COUNTY CIRCUIT
COURT

DONNIE T.A.M. KERN

Respondent, Pro Se.

AMENDED
RESPONDENT’S NOTICE OF REMOVAL OF CIVIL ACTION
PURSUANT 28 U.S.C. §1331, §1441, & §1443

PLEASE TAKE NOTICE that the Respondent Donnie T.A.M. Kern hereby
amends it’s previously filed Notice of Removal pursuant 28 U.S.C. §$1446(b)(3).
This amendment is for the sole purpose of amending Donnie T.A.M. Kern’s Notice

of Removal filed on August 24 2021. Amending the Notice of Removal is being
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done in good faith, in the best interest of justice, and to eliminate further delay which
could occur by Donnie T.A.M. Kern appealing the order to remand of the Notice of
Removal to the United States appellate court pursuant 28 U.S.C. §1447(d) as the
Notice of Removal was filed pursuant 28 USC. $1443 permitting appeal to the
United States appellate court. Amending the Notice of Removal will aim to remove
any confusion and will explicitly show that the Notice of Removal is proper under
28 U.S.C. §1331, §1441, and §1443 all of which are considered federal subject
matter jurisdictional elements for removal into the United States District Court. The
Amended Notice of Removal is amended and filed timely under 28 U.S.C.

§1446(b)(3) as it is filed within the 30-day statue of limitations.

COMES NOW the Respondent Donnie T.A.M. Kern asking the court for liberal
construe in interpreting this potentially “inartful pleading” (Boag v. MacDougall,
454 U.S. 364, 365 (1982)), via Pro Se, in seeking judicial asylum, without
adequate and desperate need of counsel submits this pleading in justifiable self-
defense in response to the villainous, retaliatory provocation by the
Commonwealth of Virginia, Petitioner on behalf of the Alleghany County Board of
Supervisors in the filing of a motion on August 13 2021 in the Alleghany County
Circuit Court to suspend Donnie T.A.M. Kern from the Alleghany County School

Board under Virginia Code §24.2-236 pending the hearing on the petition for
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removal filled by Alleghany County Board of Supervisors under Virginia Code

§24.2-234 on December 2 2020.

Whereas members of the Alleghany County Board of Supervisors under the “color
of law” on December 2 2020 in retaliation and in the commission of perjury filed a
petition under Virginia Code §24.2-234 under the penalty of perjury mandating
Donnie T.A.M. Kern to show cause why he should not be removed from the

Alleghany County School Board.

Whereas the Alleghany County Board of Supervisors took action in filing the
petition seeking the removal of Donnie T.A.M. Kem under the “color of law”
having been provoked because Donnie T.A.M. Kern in exercising his unalienable
constitutional rights under the following laws Section 504 of the Rehabilitation
Act, Title VI of the Civil Rights Act of 1964, U.S. Constitution Amendment I, U.S.
Constitution Amendment VIII, Constitution Amendment XIV, 42 U.S.C. §1983 &

§1985.

Whereas on August 10 2021 Donnie T.A.M. Kern filed a fifty-two-page motion for
continuance and on August 12 2021 a hearing on the motion was conducted
approximately around 2:00PM and in response to the motion for continuance the
Commonwealth of Virginia via Patrick Jensen, Commonwealth Attorney

opined:
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“I guess the position of the Commonwealth is, when we file that motion, we

probably won’t object to a continuance if the court hears that motion to
suspend Mr. Kern and he is in fact suspended from office”

and via Jim Guynn, Special Counsel opined:

“You do not get to seek a continuance two weeks before trial and keep

your position until a jury tells you to go back or not.”

and Judge Ed Stein concluding:

“I am going to continue your trial and I will hear the Commonwealth’s
motion they say they are going to file...on the 25" of August 9:00AM... if

you’re going to have counsel by then that is fine, if you don’t have

counsel, we will probably do it anyway”

Whereas the Commonwealth of Virginia under the “color of law” on August 13
2021 filed a motion under Virginia Code §24.2-236 to suspend Donnie T.A.M.
Kern from the Alleghany County School Board in retaliation of Donnie T.A.M.
Kern exercising his constitutional right of governmental redress and speech to
preserve his constitutional right of due process by filing a motion for continuance
on August 10 2021 therefore the Commonwealth of Virginia having also violated
Section 504 of the Rehabilitation Act, Title VI of the Civil Rights Act of 1964,

U.S. Constitution Amendment I, U.S. Constitution Amendment V, U.S.
Case 7:21-cv-00471-TTC Document1 Filed 09/10/21 Page 5of146 Pageid#: 5

Constitution Amendment VIII, Constitution Amendment XIV, 42 U.S.C. §1983 &
§1985 as the motion to suspend was not done in isolation of the petition that was

filed in retaliation by the Alleghany County Board of Supervisors.

Therefore, the Commonwealth of Virginia in filing its motion on August 13 2021
to suspend Donnie T.A.M. Kern from his position on the Alleghany County School
Board until his trial by jury dehiscent the opportunity for Donnie T.A.M. Kern to
motion for removal of civil case CL20-827 from the Alleghany County Circuit

Court.

Henceforth Donnie T.A.M. Kern humbly, mercifully, and humanely request that
the federal court remove in its entirety case CL20-827 from the Alleghany County
Circuit Court in Alleghany County, Virginia along with all covenants including but
not limited to a jury trial, written response to show cause why Donnie T.A.M. Kern
should not be removed from the Alleghany County School Board, and any relief
that maybe available, with prayers and in the best interest of justice so that Donnie
T.A.M. Kern can be vindicated and the petition filed by the Alleghany County
Board of Supervisors will be tossed out on to the court house steps with extreme
prejudice to serve as a reminder to all citizens that the court house is used for
justice and not irreparable retaliatory revenge because there is no place in society

for misplaced civility especially in the judicial system.
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I. JURSIDICITON
Opined in Gully v. First National Bank in Meridian, 299 U.S. 109, 112 (1936);

a right or immunity created by the Constitution or laws of the United States
[constitutes] an element, and an essential one, of the plaintiffs cause of

action

in which a defendant can properly remove a court case when removal is dependent

on such matters under 28 U.S.C. §1441.

Gully v. First National Bank in Meridian (1936) explicitly preempts the
requirement that in order for a defendant to remove a case into federal jurisdiction,
the removal is based on the plaintiff's cause of action which should not be
replaced with the statutory code allowing the plaintiff the action to file the

complaint.

The Alleghany Count Board of Supervisors filed a petition under Virginia Code
§24.2-234; however, Virginia Code §24.2-234 is not the cause of action, or in
more simple explanation: was not the reason for the Alleghany County Board of
Supervisors to file the petition in the Alleghany County Circuit Court. In order to
determine the Petitioner’s cause of action in filing the petition under Virginia
Code §24.2-234 the court and the Respondent must look at the face of the Petition

to determine the cause of action. This is supported in the United States 4" Circuit
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in Verizon, Md., Inc. v. Global Naps, Inc., 377 F.3d 355, 363 (4 Cir. 2004) when
the court required a review of the “face of the plaintiff’s properly pleaded

complaint”.

In reviewing the face of the plaintiff’s properly pleaded complaint, it should look

to the United States Supreme Court, Chief Justice Marshall who opined:

...The judicial department to receive jurisdiction to the full extent of the
constitution, laws, and treaties of the United States, when any question
respecting them shall assume such a form that the judicial power is
capable of acting on it. That power is capable of acting only when the subject
is submitted to it by a party who asserts his rights in the form prescribed
by law. It then becomes a case, and the constitution declares that the judicial
power shall extend to all cases arising under the constitution, laws, and

treaties of the United States’

When a question to which the judicial power of the Union is extended by
the constitution forms an ingredient of the original cause, it is in the power
of congress to give the circuit court’s jurisdiction of that cause, although

other questions of fact or law may be involved in it.

The right of the plaintiff to sue cannot depend on the defense which the

defendant may choose to set up. His right to sue is anterior to that defense,
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and must depend on the state of things when the action is brought. The
questions which the case involves, then, must determine its character,
whether those questions be made in the cause or not (Osbom v. Bank of

the United States, 22 U.S. (9 Wheat.) 738 (1824).

The plaintiffs pleaded complaint must contain allegations against the defendant
where the defendant’s actions having arisen from the Constitution, laws, or treaties
of the United States therefore becoming the cause of action that the plaintiff relied
on to bring suite. It was further opined in Metcalf v. Watertown, 128 U.S. 586

(1888):

Where, however, the original jurisdiction of a circuit court of the United
States is invoked upon the sole ground that determination of the suit depends
upon some question of a federal nature, it must appear, at the outset, from
the declaration or the bill of the party suing, that the suit is of that

character; in other words, it must appear, in that class of cases...

Removing a case into federal jurisdiction does not rest with evaluation of state
statutory code. Federal jurisdiction is determined in evaluating what did the
defendant do to cause the plaintiff to bring action against the defendant and are the
causes of action present in the plaintiff's complaint. Did the actions of the

defendant arise from the Constitution, laws, treaties, that the plaintiff relied upon
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in-order for the plaintiff to take action and file the complaint? This was once again
affirmed by the United States Supreme Court in the case Tennessee v. Union and

Planters’s Bank, 152 U.S. 454 (1894).

Even under the act of 1875, the jurisdiction of the circuit court of the United
States could not be sustained over a suit originally brought in that court,
upon the ground that the suit was one arising under the constitution, laws, or
treaties of the United States, unless that appeared in the plaintiff’s

statement of his own claim.

The “ingredients” that provoked the Alleghany County Board of Supervisors to file
the petition under §24.2-234 seeking Donnie T.A.M. Kern’s removal will be
explicitly identified to show that the Notice of Removal contains federal subject
matter jurisdiction under 28 U.S.C. §1331, §1441, and §1443. These “ingredients”
that constitute causes of action did in fact arise under the Constitution, laws, or
treaties of the United States will also be located in the VII CLAIMS section of the

Notice of Removal
28 U.S.C. §1331 states:

the district courts shall have original jurisdiction of all civil actions arising

under the Constitution, laws, or treaties of the United States.

28 U.S.C. §1441(a) states:

 
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Except as otherwise expressly provided by Act of Congress, any civil action
brought in a State court of which the district courts of the United States have
original jurisdiction, may be removed by the defendant or the defendants, to
the district court of the United States for the district and division embracing

the place where such action is pending.
28 U.S.C. §1443 states:

Any of the following civil actions or criminal prosecutions, commenced in
a State court may be removed by the defendant to the district court of the
United States for the district and division embracing the place wherein it is
pending:

(1)

Against any person who is denied or cannot enforce in the courts of

such State a right under any law providing for the equal civil rights of
citizens of the United States, or of all persons within the jurisdiction thereof:
(2)

For any act under color of authority derived from any law providing for
equal rights, or for refusing to do any act on the ground that it would be

inconsistent with such law.
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IN THE UNITED STATES DISTRICT Court [©
FOR THE WESTERN DISTRICT OF VIRGINIA

  

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Roanoke Division AUS 2 8 2007
JEANNE Q. JACKSON, ) we oer ener
Plaintiff 5
v. } CIVIL ACTION NO,
ALLEGHANY COUNTY, } POVVLOWT
BOARD OF SUPERVISORS OF
ALLEGHANY COUNTY, )
PROFESSIONAL NETWORK SERVICES }
and DAVID BAILEY,
Defendants. }

OTI ie OV”.

Jackson v. Alleghany County Board of Supervisors et al., (4" Cir. 2007), was a
complaint filed by Jeanne Jackson (herein after Jackson), an employee of the
Alleghany County Board of Supervisors. Jackson tried to resolve a targeted hostile
work environment with members of the Board of Supervisors. An incident of
hostility alleged by Jackson included being retaliated against for trying to correct a
situation in which Jackson discovered an administrator in possession of
pornographic material. Jackson filed a complaint with the Alleghany County
Circuit Court. On August 8 2007 a Notice of Removal was filed by Alleghany
County Board of Supervisors to remove the complaint into federal jurisdiction. The
Alleghany County Board of Supervisors argued that Jackson’s complaint when
filed against the Alleghany County Board of Supervisors contained “ingredients”

or causes of action performed by the Alleghany County Board of Supervisors
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which arose under constitutional law. These causes of actions were indicated by
Jackson on the face of the complaint filed in the Alleghany County Circuit Court.
An example used in the Notice of Removal which was filed by the Alleghany
County Board of Supervisors was that Jackson quoted “redress” in the complaint.
“Redress” is a constitutionally protected activity under U.S. Constitution. Amend.
I. Jackson having indicated that she was filing a complaint against the Alleghany
County Board of Supervisors due to the Alleghany County Board of Supervisors
violating Jackson’s right of “redress” gave the complaint federal subject matter
jurisdiction allowing for the complaint to be removed. The 4" Circuit granted
removal to the Alleghany County Board of Supervisors and denied the motion to

remand which was later filed by Jackson.

The Alleghany County Board of Supervisors in its petition filed on December 2
2020 alleges that Donnie T.A.M. Kern should be removed from office because,
including but not limited to Donnie T.A.M. Kern held a “belief”, and even made
“complaints” at Alleghany County Public Schools. Holding a “belief” is a
constitutional protection under U.S. Constitution. Amend, I. Making “complaints”
at Alleghany County Public Schools is also constitutional protection under U.S.

Constitution. Amend. I.

When looking at the complaint filed by a plaintiff, you look at the cause of actions

which triggered the plaintiff to file the complaint. The actions of the defendant
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and that these actions are also described in the plaintiff's complaint is
evaluated. The Alleghany County Board of Supervisors are seeking to remove
Donnie T.A.M. Kern because Donnie T.A.M. Kern exercised actions protected
under Section 504 of the Rehabilitation Act, Title VI of the Civil Rights Act of
1964, U.S. Constitution Amendment I, U.S. Constitution Amendment V,USS.
Constitution Amendment VIII, U.S. Constitution Amendment XIV, 42 U.S.C.
§1983 and §1985 which has extremely offended the Alleghany County Board of
Supervisors causing the Alleghany County Board of Supervisors to seeking Donnie

T.A.M. Kern removal.

The actions of Donnie T.A.M. Kern in exercising his constitutional protections are
the cause of action that the Alleghany County Board of Supervisors allege are valid
reasons for filing the petition under Virginia Code §24.2-233(1) seeking Donnie

T.A.M. Kern’s removal which states:

For neglect of duty, misuse of office, or incompetence in the performance of
duties when that neglect of duty, misuse of office, or incompetence in the
performance of duties has a material adverse effect upon the conduct of the

office;

A federal question that can be asked is: does Donnie T.A.M. Kern exercising
constitutional rights of U.S. Constitution. Amend. I so Donnie T.A.M. Kern can

help disabled students receive a Free and Appropriate Education constitute neglect
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of duty, misuse of office, or incompetence which has a material adverse effect
upon the conduct of the office as alleged by the Alleghany County Board of

Supervisors?

Virginia Code §24.2-233(1) as stated is unconstitutional, and void under the void
for vagueness doctrine, as this petition filed under Virginia Code §24.2-234 is

considered quasi civil-criminal.

Session v. Dimaya, 138 S. Ct. 1204-2018 the United States Supreme Court opined
that “aggravated felonies” was unconstitutionally vague. Donnie T.A.M. Kern’s
case is also quasi civil-criminal which in this case has the elements of “prohibitory
and stigmatizing effect”. The subjective elements under Virginia Code §24.2-
233(1) are profoundly vague and broad which leads to the violation of equal
protection of the laws under U.S. Constitution Amendment XIV, 42 U.S.C. §1983

and §1985.
Cox v. Louisiana, 379 U.S. 536(1965) the U.S. Supreme court opined:

There is an equally plain requirement for laws and regulations to be
drawn so as to give citizens fair warning as to what is illegal; for
regulation of conduct that involves freedom of speech and assembly not
to be so broad in scope as to stifle First Amendment freedoms, which
“need breathing space to survive”, NAACP v. Button, 371 U.S. 415, 371

U.S. 433; for appropriate limitations on the discretion of public officials
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where speech and assembly are intertwined with regulated conduct, and for
all such laws and regulations to be applied with an equal hand. We believe
that all of these requirements can be met in ordered society dedicated to
liberty. We reaffirm our conviction that “freedom and viable government
are...indivisible concepts” Gibson v. Florida Legislative Comm., 375 U.S.

539, 372 U.S. 346

The Breach the Peace statue is unconstitutionally vague in its overly
broad scope, for Louisiana has defined “breach of peace” as to “agitate, to
arouse from state of repose, to molest, to interrupt, to hinder, to disquiet”;

yet one of the very functions of free speech is to invite dispute. Timeriniello

v. Chicago Page 379 U.S. 537

The lodging of such broad discretion in public officials’ sanctions

suppression of free expression and facilitates denial of equal protection.

Pp. 379 U. 8. 557-558.

equivalent of such a system by selective enforcement of an extremely broad

prohibitory statute.

It is, of course, undisputed that appropriate, limited discretion, under

properly drawn statutes or ordinances, concerning the time, place, duration,
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or manner of use of the streets for public assemblies may be vested in

administrative officials, provided that such limited discretion is

"exercised with ‘uniformity of method of treatment upon the facts of
each application, free from improper or inappropriate considerations
and from unfair discrimination' . . . [and with] a ‘systematic, consistent
and just order of treatment, with reference to the convenience of public

use of the highways. .. .™

Cox v. New Hampshire, supra, at 312 U. 8. 576. See Poulos v. New

Hampshire, supra.

But here it is clear that the practice in Baton Rouge allowing unfettered
discretion in local officials in the regulation of the use of the streets for
peaceful parades and meetings is an unwarranted abridgment of
appellant's freedom of speech and assembly secured to him by the First
Amendment, as applied to the States by the Fourteenth Amendment. It
follows, therefore, that appellant's conviction for violating the statute as so

applied and enforced must be reversed.

The Alleghany County Board of Supervisors never came to Donnie T.A.M. Kern

and said:
 

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“Mr. Kern, if you file a complaint in-order-to help disabled children, we

will file a resolution against you and we will petition for your removal”,

This did not happen. Virginia Code §24.2-233(1) is unconstitutional due to it being
overly broad and vague in its application which has denied Donnie T.A.M. Kern
equal protection under the laws under U.S. Constitution Amendment XIV, 42
U.S.C. §1983 and §1985. Therefore 28 U.S.C. §1443 allows Donnie T.A.M. Kern

the ability to remove this case into federal jurisdiction.

The Alleghany County Board of Supervisors have systemically ignored the neglect
of duty, misuse of office, or incompetence in the performance of duties by other
school board members which have contributed to the material adverse effect upon

the conduct of the office they have served.

The Alleghany County Board of Supervisors have not asked Jacob Wright,
Chairman of the Alleghany County School Board to resign even though he along
with other members have contributed to a discriminatory workplace causing an
employee to file a complaint with the EEOC. This employee after receiving a

right-to-sue letter has filed a complaint with the United States District Court.
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
Roanoke Division

Plaintiff,
Case No: 7:20CV00668
Vv.

SCHOOL BOARD OF ALLEGHANY
COUNTY, d/b/a “ALLEGHANY COUNTY
PUBLIC SCHOOLS” JURY TRIAL DEMAND

Serve:
Jacob L. Wright, Chairman

School Beard of Alleghany County
199 Central Circle
Low Moor, Virginia 24457

As it was explained by attorneys for the Alleghany County School Board, it is a
fact that the Alleghany County School Board did hire an individual over this
employee who was of the opposite sex, who was younger, and was not
qualified for the position. This is discrimination. This situation has caused the
school division to expense funds in legal costs. The Alleghany County Board of
Supervisors were made aware of this situation on October 6 2020. Jacob Wright is
not being asked to be removed or petitioned to be removed nor any other members
of the school board. Donnie T.A.M. Kern has been adamant in trying to prevent
this from happening. This supports that Donnie T.A.M. Kern is not receiving equal
protection under the law a violation of U.S. Constitution Amendment XIV, 42

U.S.C. §1983 and §1985.
 

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Therefore Notice of Removal is filed pursuant 28 U.S.C. §1331, §1441, and §1443
in the United States District Court for the Western District of Virginia, Roanoke
Division based on federal subject matter jurisdiction due to the intentional and
malicious systemic violations under the “color of law” by the Alleghany County
Board of Supervisors due to a petition having been filed on December 2 2020
seeking Donnie T.A.M. Kern’s removal from office which the cause of action is
associated with Donnie T.A.M. Kern having exercised and having received
constitutional protections under Section 504 of the Rehabilitation Act, Title VI of
the Civil Rights Act of 1964, U.S. Constitution Amendment I, U.S. Constitution
Amendment V, U.S. Constitution Amendment VII, U.S. Constitution Amendment
XIV, 42 U.S.C. §1983 and §1985 in the commission of perjury in filmg a petition
under Virginia Code §24.2-234 and through its execution by the Commonwealth of

Virginia and subsequent filing of a motion on August 13 2021 under §24.2-236.

The Ninth Circuit opined in Harris v. Provident Life and Accident Ins. Co., 26 F.3d
930, 932 (9th Cir.1994) (quoting Gould v. Mut. Life Ins. Co. of New York, 790

F.2d 769, 771 (9th Cir.1986)):

The burden of establishing federal jurisdiction falls on the party invoking

removal
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Henceforth jurisdiction is proper under 28 U.S.C. §1331, §1441, and §1443 due to
federal subject matter jurisdiction. The Respondent petitions the federal court for
removal of case CL20-827 from the Alleghany County Circuit Court in Alleghany

County Virginia.
ll. VENUE

Venue rest in the Roanoke Division of the United States District Court for the
Western District of Virginia and is proper pursuant to 28 U.S.C. §1391 and §1446

therefore 28 U.S.C. §1446 states:

A defendant or defendants desiring to remove any civil action from a State
court shall file in the district court of the United States for the district and
division within which such action is pending a notice of removal signed
pursuant to Rule 11 of the Federal Rules of Civil Procedure and containing a
short and plain statement of the grounds for removal, together with a copy of
all process, pleadings, and orders served upon such defendant or defendants

in such action.

Respondent was unaware on December 2 2020 that the petition filed under
Virginia Code §24.2-234 having subject matter jurisdiction could be removed to
the U.S. District Court. Respondent was at the mercy of counsel at the time.

Respondent asks the court to acknowledge this extenuating circumstance. The
 

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Fourth Circuit opined in McKinney v Bd of Trustees of Md. Comm. Coll., 955

F.2d 924, 926 & n.3 (4 Cir. 1992):
...each defendant has 30 days in which to remove the case after it is served

On August 13 2021 the Commonwealth of Virginia filled a motion under Virginia
Code §24.2-236 placing the Respondent in a renewed position to seek judicial
asylum by removing case CL20-827 from the Alleghany County Circuit Court and
placing it into the U.S. District Court pursuant to 28 U.S.C. §1446(b)(3). The
Respondent is the only Respondent and on August 13 2021 was served a complaint
under Virginia §24.2-236 allowing for removal. Notice of Removal is timely filed.
The Amended Notice of Removal is also timely filed under 28 U.S.C. 1446(b)(3)

having been filed on September 10 2021.
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TL. PARTIES

Respondent is Donnie T.A.M. Kern.

Donnie T.A.M. Kern is a natural born citizen of the United States of America, a
citizen of the Commonwealth of Virginia, a citizen of the legendary magisterial
West District of the Town of Clifton Forge, a former and current volunteer for
youth organizations including but not limited to the Boy Scouts of America, Troop
2 (arguably the oldest Boy Scout Troop in the Commonwealth of Virginia), the
Young Men’s Christian Association (YMCA), Mountainview Elementary PTO, a
business owner, a father of two minor children having the same initials ; CBK, a
husband to a loving and patient wife, a civil rights activist, an affluent and
influential political figure in the Alleghany Highlands who has loyally served the
public since he was twenty-two years of age, and having begun his political career
as an intern for US Congressman Rick Boucher before running for his first public
office the Virginia House of Delegates. Donnie T.A.M. Kern was appointed to the
Alleghany County School Board having sworn the oath of office on June 13 2018

and beginning his term on July 1 2018.

sttt CATH *te2
I, DONNIE TAM, KERN, do sctomnty swear or affire that J will support tho!
Consiltutfon of the United States and the Constitution of the Commonweatth of
Virginla and thot I will fatthfully and impartially discharge all the duttes Incumbent

 
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Donnie T.A.M. Kern is self-employed and owns Quill Accounting and Tax LLC, is
also employed as an accountant for a Fortune 500 company with a mission
decreeing “above all else we are committed to the care and improvement of human
life’. Donnie T.A.M. Kern completed a Bachelors of Business Administration with
a 3.88 grade point average from Radford University, was inducted into Beta
Gamma Sigma and Phi Kappa Phi honor society, published in the National Dean’s
List and a Dean’s List Scholar, and was nominated by Radford University for the

Rhodes Scholar program to study at Oxford, England.

Donnie T.A.M. Kern subsequently graduated from Liberty University with a
Master in Accounting with a 4.0 grade point average earning the highest distinction
award and was inducted into Delta Mu Dela honor society. Donnie T.A.M. Kern
earned the Enrolled Agent credential from the United States Department of the
Treasury prior to completing his master degree providing him unlimited
representation before the Internal Revenue Service. Donnie T.A.M. Kern is also a
governor appointed, commissioned Notary. Donnie T.A.M. Kern has over two
decades of youth development experience in which he has been trained in ASSIST
(suicide prevention), a facilitator of Stewards of Children (child sexual abuse
prevention), Adult and Youth Mental First Aid, is a certified Virginia Adult Career
Coach, and previously held certifications from the American Red Cross to instruct

First Aid, Wilderness First Aid, Water Safety, and Lifeguarding.
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Most recently in June of 2021 Donnie T.A.M. Kern collected over 200 signatures

from registered voters in the Clifton Forge West District for ballot qualification in
the upcoming November 2 2021 general election as a candidate for the Alleghany
County Board of Supervisors.
Address:

115 Church Street

Clifton Forge, Virginia 24422

Phone: 540-958-4958

 

Email: quilltaxation@gmail.com Donnie T.A.M. Kern

Petitioner is the Commonwealth of Virginia. Alleghany County Circuit Court
Judge Ed Stein appointed Mary Pettitt Montgomery County Commonwealth
Attorney to execute the petition on behalf of the Alleghany County Board of
Supervisors due to the Alleghany County Commonwealth Attorney Ann Gardner
recusing herself due to a conflict of interest. Marry Pettitt, Montgomery County
Commonwealth Attorney appointed her Chief Deputy Patrick Jensen to lead the

petition efforts on behalf of the Commonwealth of Virginia.
Case 7:21-cv-00471-TTC Document1 Filed 09/10/21 Page 250f146 Pageid#: 25

Patrick Jensen, Chief Deputy Commonwealth’s Attomey

County of Montgomery.

 

Address: 55 E. Main Street., Ste 2B
Christiansburg, Virginia 24073.

Email: jensenpr@montgomerycountyva.eov

 

 

Phone: 540-382-5705

Patrick Jensen

Patrick Jensen having the need for additional lawyering skills as indicated on
March 11 2021 was provided Jim Guynn Special Counsel who was appointed by

Honorable Judge Ed Stein, Alleghany County Circuit Court

Jim H. Guynn, Jr., Special Counsel, Commonwealth
Counsel for Alleghany County Board of Supervisors
Guynn, Waddell, Carroll & Lockaby, P.C.
Address: 415 S. College Avenue, Salem,
Virginia 24153.

Email: jimg@guynnwaddell.com

 

Phone: 540-387-2320 Jim Guynn

All parties are citizens of Virginia and are citizens of the Roanoke Division, for the
Western District of Virginia, United States District Court.

 

 
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IV. Exhibit A-Enclosures

True and correct copies of all processes, pleadings and orders in chronological
order served in this action that were made known to the respondent are attached
hereto as Exhibit “A”, as required 28 U.S.C. §1446(a). Exhibit “A” is in part

printed or contained with the accompanied red/black jump drive.

 
Case 7:21-cv-00471-TTC Document1 Filed 09/10/21 Page 27 of 146 Pageid#: 27

V. EVIDENCE

No evidence needed to be included with a Notice of Removal as opined in Dart

Cherokee Basin Operating Co., LLC, et al v. Owens 574 U.S. 81 (2015).
 

 

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VI. BACKGROUND

Amy Trail, a famed child advocate who files systemic complaints against school
divisions that discriminates against vulnerable children specific to those with
special needs and the Respondent became close friends. At or around October
2018 the Respondent began discussing with Amy Trail the idea of filing a systemic

complaint against Alleghany County Public Schools, hereinafter ACPS.

Donnie Kern fi.
Amy, just wanttoonesay Thank ‘S
You for your support for kids and ©
families. What you are doing is
amazing and will pay big dividends.
| had a question. What is the
easiest way or process t6é have
the State-do an investigation in a
public school to determine if the
school is:complying with IDEA or
504 laws?:

9:12PM |

woe oe

fe | Amy Trail

“2 | Well the easiest. way to bring them.”
vin for an investigation is to find =
| evidence ona couple of children
: and file a systemic complaint = like. ..
| have done in Roanoke’ City. andi in
Franklin County.

vere thm eapeeer wet ntsene

9:13 PM)

Amy Trail via a secret Facebook group called “FAPE in the Alleghany Highlands,
Bath Co, and Covington” confirmed that Alleghany County Public Schools had

systemic issues relating to the discrimination of the Alleghany Highlands most
 

Case 7:21-cv-00471-TTC Document1 Filed 09/10/21 Page 29 of 146 Pageid#: 29

vulnerable children; a segment of the population the Respondent cares deeply

about.
; . to kL eee meee ; '
y ; Kim Lemburg .
| FAPE in the & November 16 at 14:47 PM
| Alleghany ' We are ready for tomorrow! |
| Highlands, Bath Co, . aoe pee - 7

and Covington
@ Secret group

About
_ Discussion

Chats

 

Members

 

Events

Photos

Files

Search tile croup Q

Shorleuts.
©} Parenting Kids with... ‘3:

i ¥ ADHD and ODD Support

: So CEPL Christmas Party

; FAPE inthe Alleghany ...

€5 Mountain View PTO, ... 3° T

te

*, Support for Parents... ‘7’

 

? @) Parents with Childre... 13)
: 3. Whole Plant Acces... 26+’ ke ee
i —

| & Clifton Forga Cub Scout... | wc

(Photo Caption-Picture of student files that would be reviewed by FACES

Warriors, including Amy Trail on November 17 2018)
Case 7:21-cv-00471-TTC Document1 Filed 09/10/21 Page 300f146 Pageid#: 30

r . ok mew en ey
Amy Trail created a pati. ¥
}e9 © Admin November 16.3t 6:27 AM

 

= Issues in Alleghany. County - if any of these e appl y fo your child VOTE

Ae a ee, ae tare tee tet “ose ates

' Positive Behavioral Supports and ae
# : Interventions not in place. fo 0 FBA's and
‘ | BIP's. oo *

r

: fa! RT delaying C Child Find

we ee LEAH eae ener A hae cH

. 4
“of

 

 

   

E wi Systemic lack. of Child Find

fe ee o UI Sete i beypenetie: Bekmenen ce nicer iptune-vevamaraann-easl a
en

0: Goals are not measurable

 

OD: ' PWh's 5 are not providing the information (B
_REQUIRED wr
EQ Suspensions and "picking up’ for behavior
i 2 huge issue

 

0 Speech Services appear to be delivered by
teachers and nol SLP's

 

 

 

 

 

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i Add option

 

 

 

 

= . L

ane ae a ow

- Amy Trait: 9 Aue OF THE ABOVE: are your districts exact 5 yt temic
. issues and then some

 

+o rw met tw a een shan hog me woe on

Use: ‘Reply - aw

Amy 1 Trail 10 NOT ONE 1EP 1 reviewed had recaived |
_ Comprehensive Evaluations. - ZERO resily FBA’s and BIP’s,
reevaluations did not do Speech and OT evaluations, and. erly ONE
TEP had OT when 13. reguired it it a

* wees ae STE Bem Mitte loc ooh gr etnene ee nelrettcentecri initiate ey 7,9
Like - Reoly- ay Oe:

 

(Photo Caption-Facebook post the day before the IEP/Review-
November 17 2018 stating without having conducted the review yet that

systemic issues existed within Alleghany County Public Schools)
Case 7:21-cv-00471-TTC Document 1 Filed 09/10/21 Page 310f146 Pageid#: 31

   

Amy Trail shared 2 post. ye
© Admin - Noverber 18 sf 1:51 PM

Sack FACES
ee November 18 at 1:34 PM

   

Aa ee

ies
a 7 by
Lié

     

We spent the weekend in Alleghany County, VA vihtere we reviewed sbout 21
IEP's!S04’s, gave recommendations, lediers forrequesis for eva'uaiions, services,
reviews of FERPA, IEE's in 12 hours!

it was smazing to meet some wonderiul people who came to get Some insight for
ther children but also just a fittle support trom ‘oiher parents who want to help!
Parents helping Parents is how we a!t make effective change by using the
knowledge we have collected ourselves to help our children throughout the years
and now taking that knowledge and giving it directly to others who need to hearit
to hetp ineir children.

‘Yas, thera were tears shad:

Yes there were things we uncovered which were horribly wrong:

Gul teday sve all knows that no matter what all of these families eyes have been
opened to many things which they can achieve with just alitle help trom their
‘friends’,

And to all of you psrents who came to get seme insight - let me tell you, if ne one
ese has, YOU are ail deing an amazing job and as you go on this quest nov for
FAPE after you ensure CHILD FIND is performad appropriately, Lgayto you ----~

YOU can do it! (and if you have any struggles stong the way = you know hen fo
geta hold of ush

Sincerely,
The FACES Tribe

(Photo Caption-Facebook post the day after the IEP/Review-November
17 2018, stating “Yes there were tears shed, Yes there were things we

uncovered which were horribly wrong” within Alleghany County Public

Schools)
Case 7:21-cv-00471-TTC Document1 Filed 09/10/21 Page 32 0f 146 Pageid#: 32

 

There is a Disability list on Alleghany. County's website that shows that i in the
district a child must have 1D to be considered NID which is: “FALSE! So, t
emailed Hank about it and here is the email chain! ASK QUESTIONS when
something does not took right!

Hank,
[ have received a lot of conflicting information about the MD category. under

IDEA - L have some districts felling parents that ID is required for a MD label
and others saying no ID. is not required. Which is it? :

Any
Amy,

There is nothing in the regulations which require that a student be identifi ed
as having ID in orderto be eligible under diy MD. category. Thus, ties the:
determination of eligibility falls to the eligibility team, The regulations use 1D
in the definition of MD but only as an "example." Eligibility for MD requires:
thal a determination has been made that the students "separate" disabilities.
aré So severe and impacting on the student that they can nol_be addressed’
under a single disability category.

‘Hank

Henry J. Millward, Jr.

Director

Office of Specialized Education Facilities and Family Engagement (SEFFE)
James Monroe Building

“101 N. 14th Street

Richmond, Virginia 23219

(Photo Caption-Facebook post Amy Trail discussing issues involving

policies within Alleghany County Public Schools)
Case 7:21-cv-00471-TTC Document1 Filed 09/10/21 Page 33 of 146 Pageid#: 33

Sep Amy Trail Shared alink. w
7 O Achnin - October 27 :

 

 

nor

ROANOKECOM .
A State to investigate spacial education
complaints in Franklin County

4 group of parenis dissatisfied with ihe school

‘ dyision's response reached cul to slate Sen. BY
Stantey, whe evoked a rate syslemic review.

 

 

 

(Photo Caption-Facebook post Amy Trail sharing the Franklin County
investigation and indicating Alleghany County Public Schools could be

next)

eas Amy Trail shared a link. “@
© Admin - Cctober 24

 

hilpvAvanyv.alleghany.k12.va.usiems/one.aspx...

There is so much wrong here -- | need to speak to: someone that is familiar |
with the way thal they do these "Child Development Screenings' and | know
what the lite one is your district are not receiving FAPE and vhy their’
numbers are ditt low on as they are not doing compretiensive evaluations.
and they are leaving off social, ernotional, and behavioral i in these
evaluations which is where MANY of the children’s defi ‘cits are,

Shell... See More

 

ALLEGHANY KIZ VAUS
‘ Child Development Screening 2018 Flyer - Alleghany County |
Public Schools
Are you concerned about your child's. development? Does your child move, |
. Speak or act differently than other children the same age? The purpose of.
the screening is to identify children who have a developmental delay and...

1

 

A nil a iT a ee SE A ee ee a ee en

(Photo Caption-Facebook post Amy Trail “There is so much wrong
here” indicating Child Development Screenings are not being done

correctly within Alleghany County Public Schools)

 
Case 7:21-cv-00471-TTC Document1 Filed 09/10/21 Page 340f146 Pageid#: 34

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“Boe
reg aerate omen ere ec cer eet tr ream a

s. Mindy Hemp Gardzinski shared a tink.
Admin - Cctober 15

hitpsJAnav.webj7.com.../Roanoke-City-Schools-392484641 html
When you read this arlicle you will see Our own Aniy Trail filéd this:
complaint, 7 o—

 

    

 

vee
&

a

ey

  

" WDBVT.COM
, Report: Roanoke City Schools “non-compliant” in special
. education procedures . 4

 

(Photo Caption-Facebook post by another administrator, “Our own

Amy Trail filed this complaint’)

  

oon B Amy Trail shared a post. “
He © Admin - November 18 36:56 PM

Pneed all of you to STOP signing JEP's without a completely comeci PWN —
‘every PWN [ looked at over the last week from your area did not contain all
of the information that is REQUIRED! P\WN's are JUST as POWERFUL as
your |EP's as they are the toad map to help you basically by understanding
‘why they said NO to something you have requested and why the child does
not need that intervention or accommodation, etc.

‘YOU must start pushing your districts 1o do these things fight! Not only for
YOUR child but for all of the other children too

Let the EDUCATION begin with you.and me!
Case 7:21-cv-00471-TTC Document1 Filed 09/10/21 Page 350f146 Pageid#: 35

(Photo Caption-Facebook post by Amy Trail “Every Prior Written
Notice (PWC) I looked at over the last week from your area did not

contain all the information that is required”)

Kaw Amy Trail ad

© Admin - November 10 at 6:02. AM

   

While revieving IEP’s { found out that.a few of the parents-car not: read and :
one even Stated that they read on about a 2nd grade lévél. So" 1 am hugely’
concemed thal these people have been so taken advantage | of, because of:
THEIR disabilities hich makes me sitk!

i need to know of any resources in your area where ihey could leam to read:
but also, | need to find a way for them to stop being taken advantage. of by:
this district!

-L am considering a. letter to the school board on this: one ‘asking’ ‘ONE “of tiem:
to read everything to these parenis!

(Photo Caption-Facebook post by Amy Trail “I am hugely concerned that
these people have been so taken advantage of because of their disabilities

which makes me sick”)
Case 7:21-cv-00471-TTC Document1 Filed 09/10/21 Page 36 of 146 Pageid#: 36

Am; Trail “e
«? © Admin - November 15 at S05 PM

And the FIRST letter DROPPED today!

Happy Advocaling everyone and if is independence day for one Tittle: man in
your county!

November 15, 2018

Mrs. April Easton, Principal.
Mountain View Elementary
Alleghany County Public Schools
100 Gleason Drive

Covington, VA 24426

a

Dear Mrs. Easton,

My Son BBB is a chita who | suspect to have a disability; which hag not .
been identified by the district. His @ student, who continues to struggle with’
many interfering behaviors which impact ll 2 ability to fearn, and access
education even with strategies in place, which to date have nol been:
‘successful. Bl symptoms include, but are not limited fo: behaviors; ‘Social:
deficits; emotional regulation issues; trouble understandi ing language; ,
volume contro! of language; [i i is destructive; sleep i issues; hyperactive;
sensory overload and I suspect ff could have Autism; ADHD, and/or :
Speech and Language disorder.

Wil teacher has reported that B struggles in the classroom and {Bexnivits.
the following behaviors: selEinjuriéus behaviors; attémpted io anid has!
injured peers; Bis impulsive i in the. classroom, which includes interupting, ._ 7

 

  

the lunch room & halhvays. Additionally now uriderstand that a child’ S.
educational needs can never be appropriately met, until these tests’ are.
peffonmed for all of a needs to be identified.
Case 7:21-cv-00471-TTC Document 1 . Filed 09/10/21 Page 37 of 146 Pageid#: 37
This year§ilhas been made to walk laps af recess due to [J inletrupiing.

behaviors’, which fs removing i from natural opportunities for socialization
wilh — peers.and is anoted weakness of skill sel. teacher has:
reported multiple crying and screaming incidents, including one wherel
yas inconsolable to the point fi Was taken cut in the haliway, because she
could not teach over a crying, and vas unable ta redirect him. Also, I has
been in several silent lunches, due to [J behavior and the teacher stated
that the interventions our schoo! was using, léd to an increase in urwvanted.
behaviors, but | have not received the data to support this. Additionally, J
continues to have issues on | bus, and is currently in danger of being.
‘kicked off, due to a problematic behaviors from home to school:

Please accept this as my request for ll to have full comprehensive testing,
as outlined in the VDOE's guidance document, for the schoo! districts to
show ail of a present levels of performance including functional
developmental, and academic infermalion. \Ve also need to develop 4 BIP
(Behavior Intervention Plan) to decrease the intensity, frequency, or duration
of the behaviors, for Bio be successful in a educational environment,
with the supports and services [i needs.

An educational assessment to determine Biieve! of academic achievement,
and the nature of any problems.relatedtoleaming =

A psychological assessment to determine strengths and weaknesses in :
areas that may include: social, motor, emotional, behavior, adaptive and,
intellectual ability BO

A sociccultural assessment to obtain social, dévelopmental, adaptive and
health history information and any possible effect on leaming.

4 Speech/language assessment to determine current level of functioning in
voice, fluency, articulation and/or language (receptive, pragmatic, and.
expressive) including a classroom observation

An occupational therapy assessment to evaluate functional mobility,
movement and motor performance in order to access and participate in the

(Photo Caption-Facebook post by Amy Trail, a letter sent to April Easton

regarding a student’s educational experience)
Case 7:21-cv-00471-TTC Document1 Filed 09/10/21 Page 38 of 146 Pageid#: 38

The Respondent in concern with the need to make a report and in an impartial act
as prescribed by the Respondent’s Oath of Office decided to contacted David Von
Moll, Virginia Comptroller and inquire about reporting wrongdoings. The

Respondent was told to file a report under Code of Virginia §30-138 (Below).

in’ © Von Moll, David <davidvonmoll@daavitginia.gov> eA Fei Noy 18, 218 at BST AM
jo: votedtamk@yahoo.com i
Mr. Kern,

Generally, many of your questions pertaining to the financial operations of local school divisions could be directed to the Superintendent of Public,
instruction at the Virginia Department of Education. TI OE a

Regarding your questions pertaining to reporting wrongdoing, Code of Virginia §30-138 governs dutiés associated with fefiérting fraudulent
transactions., Also, the Office of the State Inspector General pperates the Fraud, Waste and Abtise Hatiine for reporting specific allegations. -

Please let me know if] can provide any additional information,
David Ven Mail,

David A. Von Moll, CRA, CGFM
State Comptroiter

401 2. 14h Er

Richmond, Virgin's 23210

gavid woewo hagas vines gov
805.228.2109

The Respondent received correspondence in which the Alleghany County Public
School’s Special Education Director, Elizabeth Heath sent Amy Trail in an email.
Dr. Elizabeth Heath asked Amy Trail to report to her any systemic issues. She

stated in the email to Amy Trail:

“If you should find that there is something systemic in Alleghany County
that we need to fix, I would greatly appreciate your feedback with

identifying it”

Dr. Elizabeth Heath, continues in the email stating of Amy Trail:
Case 7:21-cv-00471-TTC Document1 Filed 09/10/21 Page 39 0f 146 Pageid#: 39

“T consider you...the support that we need but don’t have the resources to

provide”

 

 

 

réeome-flizabeth Heatley <eheath@all laghanykl2orauls.
Date: Fri, Nov 16, 2078 ai 11:49 AM
Subject: providing services to childran: > ot oe Phi Ry
Te: amytrall@faces-va.org samytrail@faces- VaOrgs”

 

 
  
  
 
 
 

hits. Teall, So
funderstand you aréinéeting with parents in Alleghany this weekend
thank you, again, for helping to provide this resource. to parents in our
forward to working shy you and ariel tsfrom your aged ey, Please: let ine
winat | can dots help Fos, anc our P rent

 
 
 
   

   

e8c 40 fix, tavould greet apprécinte your feedbac With identifying me icons:
you, as | have cansideted.other support services since |have beenin ileghany
County, the support that we need bat don't have the resources to provide. As we
both know, sometimes it takes avillagey - , =

 

have spent my life working ta help childcen with special n As
ithe kids. | abvays encourage staff to keep that as their b true . north, As to AC
we'll.ger it right, evendi If takes.& whiles: ees he

 

 

Ellzabe UN, Heath, PRD. ke 8 ae 2
Director of Special Education soot |
Alleghany County Public Schools. no HE

 

 

Approximately between November 20 2018 and December 3 2018 the Respondent
had a phone conversation with Amy Trail. The Respondent was told by Amy Trail

she was going to provide training for Alleghany County Public Schools.

 
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Below are details of the conversation with emphasis on statements made by Amy
Trail. Details of this conversation was shared with members of the Alleghany
County Board of Supervisors and Jim Guynn on October 27 2020 by the

Respondent sworn under oath during a closed session hearing

Amy Traiil-

“The consensus of the other parents were, when they didn’t know any of this
information, I just was chatting with them during their reviews was, she was
a pretty effective Sped Ed Director before this Superintendent came in and

they said there were a lot of changes”

Donnie Kern-

“I made an official complaint and they are going to vote on it on December

third (3rd)”
Donnie Kern-

“T was told at our last board meeting that ‘were not going to do any

399

investigations’” (In a Randy Tucker impression)

Amy Trail-
Case 7:21-cv-00471-TTC Document1 Filed 09/10/21 Page 410f146 Pageid#: 41

“T get that you don’t have much support but you will have a lot of parents
behind you now; that will come to the school board meetings to support

these policy changes, we can work collaboratively”

“Well actually one of the things that I talked to Dr. Heath about, one of my
concems and I laid it out what I found. I didn’t use the word systemic. But I
told her all about my areas of concern. One of them was speech, behavioral
services, and um and of course the biggest one being child find. Which I told
her everybody would be asking for child find for a lot of those kids and she

needs to do testing as quick as possible.”

“There are all kinds of loop holes to allow this to happen. How about the
loop hole with a kid being in a room, there has to be a loop hole to allow that
to happen. You know if a kid is not in his classroom for more than five days

you should have a policy that says he needs an FBA”

“Obviously your policies are weak my friend, otherwise things like this
don’t happen. It is not just that they’re not following, like the law. It’s
probably because you have weak policies in there. And you’re not trying to
recreate the wheel. You just want them to firm it up so it keeps things like
this from happening. So, if we did find something on child find, something

on speech therapy, something on prior written notice; that was the other
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thing that I saw that was a systemic problem. If you had any policies on
those that were weak, and you wanted, right to fix it, ‘to have the special ed
regs to reflect these changes because they are in line with this’, I would get
a group a parents to come and support you. And speak about why this
needed to be passed and fixed. I would rally the troops. I would come.

Yeah!”

“I know Dr. Heath herself had a meeting with the Superintendent on
Tuesday morning and another one this morning before she talked to me. So,
Tam sure. You know here is an idea, don’t do it. I mean that sincerely. I told
her, [ am not asking what is going on. I am just telling you whatever it is
it can’t be right. So you might want to fix that. I do not want to come
down to that school and find out that he is still in a closet somewhere.

And I said it just like that. Because there is way more going on, it’s gotta

be”

“Tam going to talk to her on a couple things. We are going to schedule a
training and bring Hank Millward from the Virginia Department of Ed, I

haven’t told them that...(giggle)...to talk about prior written notice”

“I keep coming back to town, I told her I am going to be back in a week or

two for another kid’s meeting. I may stop and look at another kid’s records

 
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when I am there. They are all at Mountain View. I don’t? know what’s going

on there,

I will be honest Donnie, that is what I called her about. That’s why we talked
today. Is because the parents that I met, it was blatantly obvious that there
was a disability and I had to ask. And dad cannot read on a second-grade
level and mom has multiple disabilities. It was blatantly obvious that they
were taken advantage of. I told her that on the phone. I was like it’s
blatantly, it’s just obvious. The best thing you can do is fix it immediately.
The whole system has failed them. Many times now, probably when they
were in school. It is really sad and I think we are going to find a lot more of
that, you’re right. That is what happens, when they are poverty and
uneducated they can’t go anywhere, they can’t go up without that on or the
other. You can’t stay uneducated or you will remain poor and they will take
advantage of it and I think that principle there might be doing an extra big

job of taking advantage of people with disabilities.

“There are definitely, definitely some deficits. You know...they really
need...(sigh)... really think they are going to need some more training. As
crazy as that sounds. It’s the only way. Because she is not talking about

training staff until next year”,

 
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“My point is that half of the parents even don’t, don’t even realize there is a
problem. It’s not you know what I mean. It’s one thing for these parents to
Step up that know something is going on and ask for help. But there are a

lots more that do not know that anything is going on”

“So I got to figure out a way and that’s why I was willing to talk to her. I got
to figure out a way to go ‘hey let’s review some kids documents at this
school, go get me signed consent from all their parents and let me look at
their files’, There has got to be a way to get in there to...I do not think they
are going to willing tell me there is a problem, no offense if the dumbasses
don’t know it...if they do not know something is a social skill deficit
Donnie, they don’t really know it. I see that a lot with mis understanding

about behavior especially”

“You have to learn to turn things around sometimes Donnie. Watch this. It
appears Dr. Heath really wants to be my friend. Ok, like she really, like
really [ am waiting on little emoji icons on my phone or something. Because
I have never seen so many emails from someone I have never emailed
directly. But neither here nor there. So here is what we do, we turn this
around. And go ok you want to play nice, I get you want to play nice and

you want me to believe you’re going to do training. We make this her idea.
Case 7:21-cv-00471-TTC Document1 Filed 09/10/21 Page 450f146 Pageid#: 45

We make these policy changes a good idea and get her to come to the board

with you to support you”

“Listen, that is what I am going to do my friend. It took me a while to figure
it out. But collaboratively the three of us are going to get this done. I will be
rallying some of the parents to come as I come into town. And, yes she
wants to work collaboratively. She said ‘give me a couple things we can do’.
Ok, [am going to give it to her. I’ve given her a chance to fix one situation
specifically. I didn’t give her everything. She knows I still have enough

evidence fo file a systemic complaint if I need too.

“On top of it Mr. Superintendent, you have failed to meet your indicators
that been set forth to many years when it comes to you bring out individuals
with disabilities that can read and do math. We propose you starting doing it
now because quality of life maters to these children. So yes, I know he wants
to run. But he is not going to run from this. Part of the reason I was willing
to talk to her is because if she is willing to come aboard and she wants to
work collaboratively to fix some things, it is going to be fixing things to
make a difference for the kids. Its not going to have anything to do with him.

Because that is what it is Donnie. He just thinks he has got all the power.

Everybody kind of directed him to being the power but in the end he is not.

 
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He’s not. We just need a couple people, and who better than to get aboard

than the one I am going “

‘hey J can file these systemics or you can write policy so it doesn’t

happen again, which one is easier?’ [emphasis added]

“Know I mean, I hate to sound that way but that really is my plan now. We
have an opportunity to do this a little from all avenues and I think it is a win
for the district. If he wants to talk to me I will explain it to him. But it’s not
going to work this way, he can’t continue to be a tyrant and tell Principles
how to handle behavior of kids with disabilities when it’s inappropriate like
that or I will start filing on him personally. If I find evidence that is what is
going on that is exactly what I will do. If he is behind the scenes and ona
record somewhere advising these Principles to not refer these kids and I can
get some evidence on that I will smack him in a heartbeat. But were not
going to find that, your’re going to find that all his stuff is verbal. He ain’t
putting nothing like that in writing he ain’t emailed nobody that I bet. But it

is like you said “it’s just known”, just a known thing. “
“Alright I got dinner waiting on me, well talk soon”.

The Respondent felt Amy Trail betrayed the children in the Alleghany Highlands

by not going through with filing the systemic complaint. Amy Trail under FACES
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decided to partner with ACPS and provide training to staff and families. The
Respondent doesn’t recall training being provided in FY2017-2018, FY2019-2020,
FY2020-2021. The flyer states “Alleghany County Public Schools together with

FACES”,

 

Mountain Vie
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mle) ect T es wes

     

JANUARY 23, 2049
FREE TRAINING

Alleghany County Public Schools logelher with FACES
(Families of Autism Commanj ty Emichment Services) are
providing a free parent training in the Covington area.
FACES has heen providing Special Education. Advocacy
‘Service and trainings for parents, professionals, and
comumuni ty leaders for over 12 years,

 
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The Respondent from July 1 2018 to December 1 2018 witnessed many surreal
happenings within ACPS.

The Respondent and his wife hand an encounter with an administrator. The family
drafted a report to share with the Eugene Kotulka, Superintendent.

SYNAPSIS
On Thursday, August 16* 2018. 6:46PM (or at the adjournment of the Mountain View PTO meeting).

ee 3: down at the end of a table where Mrs. Kern and Mir. Kern

were seated across from each other. [was sat next to Mrs. Kern and Mr. Kem, During this
conversation there were still about 15 PTO members among the room, and during the conversation

walked aver to speak with Mr. Kern briefly HEME during the tast part (10
minutes) of the conversation joined at the table. We left around 7:50PM).

Upon [ arcivat after II sat down, he looked at Mr. Kern and asked “ts this Mrs. Kem”, Mr.
Kern responded “yes”, then began the conversation, Below are quotes fram Zz
during the conversation (these comments are not in specific conversation order):

It’s no wonder the teachers didn’t understand these accommodations | had a hard time myself
With an IEP, Hiwouts have a case manager to communicate more track progress
You are to report to me, then
There are 20 plus other students in the class, you can’t expect yours to fet extra:
Mrs. Mullineaux and you have a special relationship and she may be showing favoritism
i told to not have contact from now on with you on Facebook, it can be putting her
in danger and subject her personal message to FIOA.
* Ifteachers are forced to write 2 positive comments about your child a day, they will be so busy
that at the end they will “half ass” the remarks.
| would get more money to accammodate with an [EP
Allowing him to retake a test Is setting || up for failure, its fine now but with SOLS and High
School it’s going to be worse.
® {t's your responsibility to explain to FD why Meets these accommodations, not the
teacher's.
When you go bringing advocates in, they don't understand what we have to work with
{After we stated [J would have worse anxiety with leaving the classroom}- il will adjust quick”
I {referring to the school division) don't have the money to fill 504 accommodations
These accommodations are not allowing Ill to progress .
(When discussing accommodation enforcement} If it’s not specifically stated on his 504 we can't
accommodate it. if it doesn’t say something like helping ill remember hooks, notebooks, :
faiders then It does not have to be accommodated.
I’ve never seen a 504 this large
I do not have the staff and resources to fill these accommodations, especially 1 on 1 tests.
Whoever set these, they definitely needed to be more specific
You are not allowing and giving him a chance to grow
You didn’t get proper feedback because you didn't go In the chain of command
| have observed [EM end seems to be high functioning and normal besides]iJ has some
anxiety. (After expfalning we had to spent $700 to get || assessed because the school refused
to assist twice with the effort..."1 didn’t de all of this to not get ff help”). There so much more
to it than that.

ee @© @ 8 8
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© If[lfappears to be high functioning and is now upstairs In HE will be expected to do
what the rest do.

© These are brand new teachers, you can’t expect them to know everything about your child and
how ta communicate (communicate the accommodations).

The Respondent received the following text message from an employee of the
school division:

a meeting inthe:

and (in would:

 

I. can't: overrule them because
have:no authority. You: guys: need to
ask-for Heath:to be ‘there for’sure..
Especially if they-are trying to block
us from coming. This i is insane...

FOZ PM
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The Respondent received the following email message from an employee of the
school division:

ur fetter to the editor, ACPS concerns...

@hotmail.com}
Sont: Wednesday, October 24, 2018 4:05 PM
Te: Gonnle Kem

  
    

Helio, Mr. Kern,

| read the original article written about the school board meeting as well as your responding letter. Thank you
for asking questions. Please continue to do so. Until Mr Tucker stands with you Instead of agalnst you, however,
I'm afraid the end result will be more of what you have already experienced. I'm not suze why the other board
members cannot see (or refuse to see) the hidden trails.

Your cail to action resonated with me, but you need to know that parents have tried to stand up. Unfortunately,
many of the parents who understand what has oecurred here since 2015 also work here. We have met
Tataliation in ways that would surprise you, including retaliation against our children and our finances. ! still
have three children in this system, and | need my job. At this point, | am justifiably afrald to vaice my concerns.
Sincerely,

"The pupil dilates in darkness and in the end finds light, jusi as ti soul dilates In misfortune and In the

end finds God,"
-Vietor Huge. Les Adiseradbies

  

The Respondent made a report to Child Protective Services after receiving an
email from another school employee that an African American child was being
discriminated against. The Respondent first reported it to the School Board and
Eugene Kotulka, Superintendent, but Alleghany County Public Schools refused to
investigate the matter.

 

 

fon: is
ante 7:

Sent

 

Subject: J a

 

af the Classica and nat Lrecewing instnucton, pacing

Bi hops that something can badens be _
of the belief that none of this would be haanening weve noi Aitean American, someone naeds in.
advocate ior the student,

 

 

 
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'From:.Cugene Kotulka : NS
Sent: Tuesday, November 13, 2018 7:28.AM . - | . a
Te: Craig Lane; Daniella Morgan; Donnie Kém;. Gerakt Franson; Jacob Wright SchBd; Jennifer

. Séckner; Raridy Tucker

Ce: Fred Vaughan .

Subject: FW: Complaint/Student Investigation

Mir. Kem | - tae

Thank you for sharing the attached informatian a6 well as the information beléwi Atyour:
convenience, please provide the necessary information to begin the investigation... -

Regards,

Gene Katulka

The Respondent spoke with a parent on November 17 2018 at or around 10:00AM;
Victoria Graybill. The parent recounted their experience with the ACPS and the
Respondent contests it was the most traumatic situation that the Respondent was
made aware of Victoria is a grandmother and parent of a student because the
student’s birth mother passed away due to cancer. Victoria’s child’s experience in
recounting it to the Respondent was deeply troubling. The treatment she received
as a parent when she tried to reach out to the school board in concern was also
equally troubling. The Respondent shared in detail this conversation with membets
of the Alleghany County Board of Supervisors and Jim Guynn on October 27 2020
during the hearing. The information shared by Victoria during the conversation
shocks the moral conscious. Below is a partial excerpt from the transcript (page 97

Line 4-21) from the hearing under oath the Respondent participated in.

 

 
1$

20

22

 

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A. She said, "My PBB is so afraid of the
put to sleep for surgery | | woke up screaming
their name || Wa8S 80 tombative. They had to put
i back to sleep. The anesthesiologist came out
and looked at me and goes, ‘who are these people?’
Eosaid, 'Those are teachers.' And then the” --
just me and the anesthesiologist. "Then said,
‘there is a special place in hell for them because
anybody that can do whatever happened to that
child and be that beat ingrained and fight like Jy
dees, JB wcke up looking like a wounded, cornered
animal, fighting for JB} life, screaming those
teachers’ name.'

She goes on to say, "She documented
in QM medical records and said I can't believe
the School Board would refuse to talk to you about

this,”

 

When the Respondent first attempted to recount this story for members of the
Alleghany County Board of Supervisors and Jim Guynn, the Respondent was
displaced and stricken with emotions and tears, unable to speak as if the

Respondent’s breath was taken away. Causing a recess to convene.
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23 occasions, She stated, "My MMM is so afraid."
24 Hold on,

i QC. Mr. Kern, this wonid be a great time
2 for us to stand up and stretch about ten minutes
a and také a break. Is that all right with you?

4 Ru Yes,

5 {A recess was taken from 11:15 a.m.
6 to 13:25 a.m.)

 

 

(Transcript page 90 Line 23 to page 91 Line 6)
Victoria asks the Respondent a question during the conversation:
Victoria-

“So who speaks up for my child? Who stands up for this kid?”
Donnie Kern- in reply

“¥ will stand up for the kid”

6 So she said, “So who speaks up for my
7 child? Whe stands up for this kid?"

g Iosaid, “I will stand up for the

3 kid.*

(Transcript page 98 Line 6-9)

 

 

 
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The Respondent eventually reccives a notarized letter from Victoria below:

To whom it may concern

I Victoria L Graybill mother of IBM give my consent and permission to D. Kem Alleghany
schoo! board member to have complete and full access to any schoo! records, testing results, medical
reports and records, amalls, text messages or any other information about or co:
- 45a schoo! beard mamber it is my understanding that he should have across to the mediation

agreement but ff consent is needed | hereby grant it to Nir. Kern. 1 do not belleve he needs my consent

_ because itis my understanding that Alleghany considers the mediation still uncompleted. | also give Mr.
Kern consent to speak about INIMINJ experience In the Alleghany Public School System to Robert Gard
Physicians to Children or to others trying to access an appropriate education for their child through the
School system. Gur experience was toxic end detrimental toll and sadly could not be resolved
forcing us to relocate to prevent futher damege developmentally, mentally and financially. | |
suffered severe regression and mental sbuse with absolutely no accountability from the school system.
This is well documented in all of Hdevelopmental‘and medical records. These records and reports
were all offered to Dr. Heath In IEP meetings but refused by her without her even reading the
Infarmation offered so | am unsure if they are part of the school file, It is my bellef that Mr. Kern Is
trying to improve the treatment and access to appropriate education and to keap another child from
enduring what my child went through.

OG. 4
Victoria L Graybill

qubillias;,
ast 4,
a ELLE ‘se 4
= Wrenn Mgt,
SoS Nota Be

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In the letter drafted by Victoria it states:

“It is my belief that Mr. Kern is trying to improve the treatment and

access to appropriate education and to keep another child from

enduring what my child went through”

The Respondent in an act of impartiality as prescribed by the Respondent’s Oath of
Office decided to file a report with state officials: Superintendent of State Police,
State Inspector General, and Auditor of Public Accounts. The state officials
indicated they did not have the statutory authority to take action. Susan Armstrong
with the Virginia State Police said there was a “budget problem”. The Respondent
requested that the Virginia Department of Education review the report. The
Virginia Department of Education also indicated that it too did not have statutory
authority to take action. Virginia Department of Education’s response from

Thomas Broyles stating:

Based upon our review of your submitted materials we see no actionable

VDOE issues within our scope of authority

There was never any claim by any official that deficiencies didn’t exists. The only

claim made was that these state officials lacked the statutory authority.
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COMMONWEALTH of VIRGINIA

DEPARTMENT OF EDUCATION
_ RO. BOX 2120
RICHMOND, VA 23218-2120

February 12, 2619

Mr. Donnie T.A.M. Kem, School Board Member
Alleghany County Public Schools

100 Central Circle

Low Moor, Virginia 24457
dkem@altleghany.k12,va.us

Dear Mr. Kem:

Thank you for providing information on your concems with Alleghany County Public Schools.

We have carefully reviewed three broad areas identified by you including finance, special education, and

the Virginia Freedom of Information Act (FOIA). Our analysis included input from subject matter

specialists including the auditing firm of Robinson, Farmer, Cox & Associates CPAs, who conduct the

combined annual county. and schools audit along with the schoo! activity funds (SAF) audit as part of our

" financial review. The Virginia Department of Education (VDOE) is not a compliance ot enforcement
agency for FOIA, and accordingly, do not have jurisdiction in this area.

Based upon our review of your submitted materials, we see no actionable VDOE issues within our
scope of authority. Again, thank you for bringing your concems to our attention. We consider this matter
closed and will not take any further action at this time.

Sincerely,

Abuewsn lh Broglar

Thomas W. Broyles, CGEM, CPA’
Director of Business and Risk Management

Copy: Dr. James F. Lane, Superintendent of Public Instruction

 

 
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If the Respondent’s report to state officials had been thoroughly reviewed it would
have found some troubling issues that go beyond a “budget problem”. One issue
was the intentional and deliberate misappropriation of appropriated funds
designated for Standards of Quality. A school division receives funds based on the
Virginia Budget Bill which is to appropriate funds for the implementation of
Standards of Quality; translation required to educate children. ACPS FY2016-2018
never appropriated “Debt Service” a 7100 account under the ASFRIN Chart of
Accounts. ACPS during this time period never received additional appropriations

from the Alleghany County Board of Supervisors specific for “Debt Service”

(below)
“Debt Service”- Budgeted. Spent:
© FY2045-2016: #7100: -"Debt Service”: $0, $410,967.50.
© FY2016+2017: #7100- -“Debt Service”: $0 $406,185.00
* FY2017-2018: #7100--"Debt Service”:' $0 $410,997-50 '
 FY2018-2019: 47100--“DebtService”: $0. $0
@ = =©FY2015-2020: #7100: -"Debt Service”: $0. $0:
© FY2020-2021: #7100--“DebtService”: $0 $0:

FY2016-2017 (below) Year End Fund Balance shows a transfer of $390,592.50 in
Debt Service 7100. The other $15,592.50 (Total $406,185.00) was transfer at

another time.

 
 

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The $390,592.50 payment for “Debt Service” went directly to the Alleghany

County Board of Supervisors via the Treasurer (below)

 

 

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(278285) efi eons WALSAART a °° a

 

 

 

 

 

 

 

ASFRIN Chart of Accounts states in regards to the treatment of “Debt Service”:

“Only the debt service/capital funds appropriated to and paid directly by the

school division should be reported on the ASFRIN”

67000 Debt Service and Fund Transfers
A number of outlays of governmental funds are not properly: classified as
expenditures, but still require budgetary or accounting, cofitrol,. ‘These include.

debt service payments (principal and interest) and certain, transfers of. monies
from one fund to another, These-accountsare not tised with: propri¢tary: finds:

‘Debt service payments made by the local goveming body.on. belialf of thé school
division (i.e., the funding is not appropriated to the school division: budget) should
not be reported as debt service payments on the ASRFIN, Only the debt
service/capital funds appropriated to.and paid directly by the school division:
should be reported on the ASRFIN.
The “Debt Service” was not appropriated to ACPS, but these funds were paid out
to the Alleghany County Board of Supervisors. This mean the funds sent to the

Alleghany County Board of Supervisors came from funds that was supposed to

education children. Funds are misappropriated when the original beneficiary of the
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funds is changed. In situation the beneficiary of the funds changed from students to

the Alleghany County Board of Supervisors.

ACPS consistently has had consistent trends in anomalies when it came to unspent
funds. However, on January 8 2019 the Respondent finally found out why. The
Respondent’s report to state officials had already been filed. The reports existence
had not been made public until after this meeting. When the meeting was over the

Respondent contacted a member of the Alleghany County Board of Supervisors;

Richard Shull.

The January 8 2019 meeting revealed through budget discussion that ACPS
deliberately budgets appropriated funds absent any intention of actually spending it
during the fiscal year. The term “carryover” is used frequently. This term
describes funds that are appropriated but never spent. The term is used primarily to
describe the funds that are unspent before they are carried-over (i.e “carryover”)
into the Capital Fund account at the end of the year. When the term is used in the
context of budget discussion it is used in speaking of money that is going to be

appropriated to education students but will not be spent.

During the meeting discussion on Schoo] Bus spending the term “carryover” is
brought up. In its contextual use “carryover” is discussed to offset under budgeted

school bus expenses.
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Eugene Kotulka, Superintendent states:

 

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“The one thing I don’t like in here is we cut out the purchase of our buses, so

my recommendation is, we are going to have some carryover money again

at the end of this year again. That we will take and use some of that for

buses, people are getting exciting down there alright”.

Below is a chart which pictures the budgeting and spending on school busses for

ACPS between FY2015-FY2021. ACPS overspent $453,418 on busses, all in part

because of “carryover”, i.e money which was appropriated to education students
ry y pprop

would not be spent in order to subsidize school bus purchasing.

“School Bus Purchasing’-

® = FY2015-2016: #3500- -“School Bus”:
* FY2016-2017: #3500--“School Bus”:
® FY2017-2018: #3500- -“School Bus”:
e FY2018-2019: #3500--"“School Bus”:
@ = F¥2019-2020: #3500- -"School Bus”:
@ FY2020-2021: #3500- -"School Bus”:

Budgeted

$85,806.00
$133,623.00
$174,806.00
$174,806.00
$70,144.00
$70,144.00

Spent

$255,795.00
$271,052.00
$254,496.00
so

$175,962.00
$206,442.00

Unspent /-Over

5-168,989
$-137,429
$-79,690
$174,806.00
5-105,818
5-136,298

Total Overspent: -$453,418

FY2019-2021 school bus was budgeted at $70,144. The average cost to purchase a

bus is approximately $90,000. “Budget Problem” absolutely.

 
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January 8 2019 budget discussion eventually took a turn for the worse when it
began to discuss eliminating the Nursing Coordinator, Leslie Downer. The
Respondent knew Leslie Downer and worked with her on occasion specific to the
Safe School Committee years before the Respondent was a member of the School
Board. It is the Respondent’s understanding that Leslie Downer has disabling
conditions. In this discussion it is also mentioned about using “carryover money”

for a one-time extension of the Nursing Coordinator position.
The discussion below:

Craig Lane- “Where are we at on the nursing, nurse

Eugene Kotulka- “This would eliminate the...

Keven Rice- “Nursing Coordinator

Eugene Kotulka- “Yeah”

Keven Rice- “and Nurse Secretary”

Eugene Kotulka- “Yeah”

Craig Lane- “I think we are going to have a lot of political hot water if we

eliminate those next year...just my opinion”

Eugene Kotulka- “If you add them back in you will need to find another

$98,000”
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Craig Lane- “I don’t know what you guys think but someone brought that

up at the last meeting we had...”

Danielle Morgan- “My concer is kind of like having the nurses in the
school, I had talked to Gene I would like to see what those two position do,
as in like a work study, what are they providing support wise. You know
because, to be realistic we are looking at three and a half teaching positions
too. You know so like that are direct to the students to. So, I think we have
to weigh all those options. We got a nurse where they are, what are those
positions doing and what are they bringing? You see what I am saying, I
have a hard time justifying fighting for that money when we got three

teachers going out the door.

Jennifer Seckner- “T think it would benefit us to have the Medicare billing

person”

Craig Lane- “You guys were at the board meeting with me, it was kind of
alluded to the fact that we weren’t going to change anything. So, if we end

up changing that...”
Danielle Morgan- “In all fairness to us...”

Craig Lane- “I am good with that, but nobody is going to hear that

conversation, all their going to remember is”
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Randy Tucker- “I thought we weren’t going to eliminate any nurses”

(meaning nurses serving students directly)
Craig Lane- “That’s not the way people took it”

Keven Rice- “Thinking strategically if we, this is just my opinion, if we say
we are going to find funds for that then there is no incentive for the

foundation to fund the grant”

Danielle Morgan- “Exactly it is a full-time position right now for both
school systems, so why would we fund it, If were are going to fund it then

they will be ours not Covington”

Eugene Kotulka- “Now my job is to ugh to direct a path a little bit on this,
just like with the teaching staff when Mary Jane does the analysis of the
teaching, what teaching staff we need that’s based on her calculations on
what we need. Same thing with the nursing program, I said this all along, we
do not need the nursing coordinator position. We do need the Medicaid
person. We can handle the oversight of the nursing program up here in the
central office. That is where I came from. Mr. Vaughn...I think he...did you

provide them...

Jacob Wright- “He got a lot smaller over there”
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Eugene Kotulka- “I know he hides on me doesn’t he, he try’s to hide

behind Mary Jane. Thank you Mary Jane”
Mary Jane- Let me just slide back a little bit
(Everyone Laughs at Fred Vaughn hiding)

Eugene Kotulka- Did we not provide the board who has the nursing

coordinator position?
Fred Vaughn- I don’t know if we provided the board with that

Eugene Kotulka~ We do have that information so we will provide that at the

next meeting

Danielle Morgan- “In one of my possibilities that I brought up in discussion
with Gene before also, is once we get a some sort of work study as to what
that position is doing for our schools, as we are looking at funding it, is that
something that can be absorbed by a giving a current nurse in a building
more hours. Like a supervisory whether providing care but then have extra

hours to do those elements.

Jacob Wright- “It actually sounds like part of this grant that they are giving

the nursing coordinator more responsibility. Because Its sounds like Mrs.

 

 
 

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Snead Johnson doesn’t think the nurse coordinator maybe doesn’t have

enough to do”
Craig Lane- “That’s probably the case”

Craig Lane- “T just want make sure everybody understands that what people

came out of that meeting as if nothing is changing”

Jacob Wright- “But it sounds like to me that she was through this grant she

was adding more responsibility”
Eugene Kotulka- “she was”

Craig Lane- “If that happens then I am not sure then the current person

would stay in the same job then, that is probably what’s going to happen”

Randy Tucker- “Let me ask the board a question. Did you get an email

after that meeting? What did ya’ll think of the email? Did you read it?

(The conversation takes a turn to critique Autumn Anderson’s email sent on
November 20 2018 to the Board in support for the nursing position and gets

off topic)

Eugene Kotulka- “You can also do a temporary one-year solution. That

would be to use some of the carryover money. Mr. Rice and I had talked
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about this all day today...If we take that approach, we make it crystal clear

the following year it is done.

Craig Lane- “I am ok if we don’t do anything with it. I just want to make
sure we go in eyes wide open, that there will be fallout after. I know it’s

going to come. We need to have the same story coming out of here that’s

all”

Jacob Wright- “It’s pretty amazing we don’t have any media here right

33

now

Randy Tucker- “That’s a good thing, come out of close session media’s

gone”

Randy Tucker- “If we have closed session at the beginning of the meeting

it would be quicker”

Eugene Kotulka- (chuckles with a hearty laughter)

Jacob Wright- “Did we give him something fun to talk about”
Danielle Morgan- “He ran”

Jacob Wright- “Maybe we need to plan that more often”

Craig Lane- “I just want to make sure everyone’s eyes wide open on this”
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Eugene Kotulka- “I just don’t think, again professionally I am saying I
don’t think we need the nurse administrator’s position and I think we can

manage successfully up here and do a great job”

Danielle Morgan- begins to talk absorption of the duties. Then about the

need for physicals to be done.

Keven Rice- “I would really be surprised if she is doing those now”
Danielle Morgan- “That’s why I want the numbers, the work study”
Mary Jane- “I don’t think she is doing anything”

Jan Hobbs- “T don’t either”

Danielle Morgan- talk about a plan with a vendor to provide physicals.

Jacob Wright- “I don’t even know who this person is in this position or
anything but it sounds like there is an overall feeling that person is not doing

a whole lot right now...am I kinda...”
Eugene Kotulka- “You are but um”
Randy Tucker- “Just say it, it is what it is”
Eugene Kotulka- “You have ugh”

Jacob Wright- “It’s like were in closed session but not”
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Danielle Morgan- “That’s why I want the work study”

Eugene Kotulka- “We have an ADA, we have an ADA compliance issue

here as well, a major one, a major major one”

The Respondent then decides to ask a question involving the benefit of the nursing

program and how it could be a requirement for Special Education purposes.

Donnie Kern- “I got a question. The lawyer is here and it would be a good
one. So, what if a child needs some sort of medical service that a nurse can
provide in order to attend the school. Would the school then have to be

forced to provide that service in order to attend the school?

Attorney/Reed Smith- “Are you talking about like special education?”

Donnie Kern- “So, if you have a kid with an IEP and the kid has medical
conditions that require a certain service be performed maybe routinely
through the day in order for them to attend that school to get an education
would the school then have to provide that nurse during the day in order to

provide that service.

Danielle Morgan- “From a nursing perspective if they needed something
that a nurse could prescribe, they wouldn’t have a clean physical to attend

school and they would be homebound.

 
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Randy Tucker- “Let me share something with the board you’re not aware
of, back when I came back on the board the very first time, May Jane may
know. Our school division under Special Ed was doing a lot of things we

should have never got into”

Randy Tucker- “We don’t’ need to be in the business in putting in in-

ground swimming pools at your house because somebody says “my child

needs a swimming pool at home” and we were putting in in-ground pools.

Randy Tucker- “A lot of things happen in this school division that when
Bob came on he looked at and shook his head and said ‘what in the cot is
going on here’, and we stopped it. We said ‘we are not providing these

services just because somebody said ‘my kid needs a swimming pool’

Randy Tucker- “We don’t care if a kid needs a dog we’re not supplying the

dog”

Craig Lane- whispers to the person next to him, “you got your swimming

pool”

Danielle Morgan- “If they have that grave of a medical condition they

would be on homebound”

Donnie Kern — “Jt could be as simple, not one that doesn’t pass the bill of

health here. One that requires a certain service in-order for that child to

 
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attend school. Let’s use a hypothetical if for some odd reason someone says
“yes he can attend school but he will need this in-order to attend school’

would the school have to provide the service?

Attorney/Reed Smith- “The answer is Yes if the student’s IEP team says

that is what the student requires for a free and appropriate education”

The Respondent couldn’t believe what he had just heard. In protest the Respondent
walked out of the next school board meeting, declaring the School Board’s actions
similar to the display of Pee Wees play house. The Respondent eventually called
Richard Shull and explained to him about the situation and asked to speak with
members of the Alleghany County Board of Supervisors. The Respondent sent
Richard Shull details of the complaint via email on Jan 11 2019 after their

conversation.

 

 

Forwarded message
From Donnie Kem <quittaxation@email com
Date: Fri, Jan 11, 2019 af 17:22 PM

Sutgect 30-362 Complaint

To: <ubustdaael com>

a

| had to compress Ihe fte as K was so large. So you will need lo download the folder, then click on it to open end save. Hs 148 Pages. | am sending a coupie other attachments in anciher email,

Donnie TAM. Kem, EA, MSA
540-958-4958
Check Us Out On Facebook!

 

 
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The report the Respondent sent to state authorities was eventually publicized and
the Respondent was retaliated against by ACPS on February 25 2019 via public
bedlam. The retaliation was a shanghai tactic carried out in a surprise. The initial
agenda provided to the public was missing the additional agenda items added at the

beginning of the meeting:

Chaiman Tucker called the meeting to order at 6:00 p.m. The call to order was: followed by a moment of
silence and the recitation of the Piedge of Allegiance.

Chairman Tucker announced the following revisions to the agenda:

1. Removal of 18-174-Recognition of Schoo! Board Cleri/Deputy Clerk Appreciation Week

2. Addition of F. to the Consent Agenda-Minutes of January 8, 2019 Callad Meeting and Work Session
3. Addition 19-187 Dee Ann Tickner's students will be singing for the board before ttem 19-175.

4. Addition of 19-190-Emai Addressing the Board to be inserted before Itam 19-175.

$. Addition of 19-191-Superintendent’s Report on the Kam document Inserted before Item 19-175,

6. Addition of 19-192-Document inserted before Item 19-175.

7. tem 19-173-Recognition of Schoo! Board Member Appreciation.Month will be moved to after 18-475
School Board Member Comments.

Above you can see the agenda items that were added at the start of the meeting
which were not on the original agenda available to the public. #4, Item 19-190,

which is a letter drafted by Amy Trail. The individual who once called the

 

Amy Trail). ~ <° 2

x

Respondent at hero. G mE a

 

" : Yourare.my-hero.- "Are we putting . |.
ourpriorities where they:need to.
;be?:SROTON! ° oe

wl
Rn eel. caer eee ee Bi Fenn g nee =

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Amy Trail’s letter as provided to the school board to be read aloud publicly

contained many false statements.
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(49-190) EMAIL ADDRESSING THE BOARD
Mr. Tucker shared an email with the Board from Amy Trail, The email was sent to Dr, Heath and Ms. Trail
asked that she share it with the board. The text is as follows:

First and foremost, | want to thank you sincerely for taking time out of your da y fo speak with me
yesterday. | hope you do understand that all | want to do is to help the children hare and that I want to be
a resource, if needed by anyone in your area - professionals and parents combined,

You did touch on yesterday someone saying things about FACES in relation to us coming in to review
IEPs, etc... | wanted to explain a little of that to you so you will fully understand. When | agree to review
IEP's as a community service, wa do not charge those families for those services but instead only give
them information and suggestions but it is appears thal sometimes people think we are going fo come in
and attend meetings and ‘fix' things when we have never promisad to do that. But on lop of that, it
appears that @ couple of people in your community got very upset that { would not fix their Siluations, i

would love to have the time and the money fo come and help them ail but I can only do what ! can with
what resources | have available to me.

But there is one individual that found me who’s behavior was so outrageous fo me that ! did not aven do
their raviaw personally because | could not take another round of his hate Speech espacially because his
@ part of the fabric of the district. Ha stated to me personally "I do not want my child in the ‘retara’ room"
and because | understand the climate of your area. | said nothing to him at that time but instead assigned
him to another Advocate and did not share this information with her only for him to say it again to her! So,
after that, no, | did not help him and as a matter of fact, | cut him off from any access fo me as it was then
obvious fo me that his mission is not aven close to the same as mine. | ama very understanding person
of differences but the one thing | will not tolerate is anything that makes anyone feel fess than and it is
abvious from his comments he is not for equality of all (even though he has a special needs child),
Honastly, | even considered having this addressed with the Schoo! Board bul { do not know them
personally, { did not want fo get more faedback that lined up with his as it would make me sick. All
children, including ones with intellectual disabilities are valued by me and always will be so having an
individual on @ school board who is so uneducated about this one subject and the matters that surround
having 8 complex child with severe needs is gross.

1 am sorry that | am having to bring this to you but ! could na fongar carry this nasty around in good
cansclous without ensuring that something is done to address it because not anly did he offand me
personally, he also has said this to others including some of the parents he is supposed to be ‘serving’
and it is discriminatory.

if you need to discuss this more, | would totally understand or if you would like any suggestions, | highly
recommend some disability sensitivity training in the district to help him and others with this subject before
it explodes,

Thank you for listaning,
Amy
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Members of the Alleghany County Board of Supervisors passed a baseless

resolution on March 4 2019 seeking the Respondent’s resignation.

BOARD OF SUPERVISORS.
COUNTY.GF: ‘ALLEGHANY
Covington, Virginia

‘

   

At a special call meeting of the’ Board of Supervisors Alleghany: ‘County,
Virginia held on Monday, March 4,2019 at-5:00 P.M, tne: ‘Board. ‘Room,< ofthe:

get

County Governtnental Complex thereof, the folldwing. action: was’ ‘taken:

 

MEMBERS: VOTE:
Stephen A. Bennett, Chairman YES
Cletus W. Nicély, Vice-Chair YES

. Shannon P. Cox YES
G. Mait.Garten’ YES
James M. Griffith YES
Richard L. Shull ' YES

M. Joan Vannorsdall YES

we vor

On motion of Mr. Shull, seconded by Mr: Niéély, that: ‘the’ followirig: raschition be.
adopted:

WHEREAS, Mr. Donnie T. A.‘M..Kem has failed to. perfor duties of.a' School:
‘Board member including Mn. Kern abstaining: ‘from: voting:on matters befcre’ ‘the:
Schoo! Board and failing to paiticipate in School Board. meetings; and sR

WHEREAS, Mr. Kem submitted ‘documénts to the Staté-Police,; * Auditor. of,
Public Accotnts, and State” Inspector. General on: December: A4, 22018 which:
contained unfounded and false allegations against’ the “School” Board and? “its:
employees which has béen infuriéus to the.:schoo!. divisionand, community’ asa)

whole; and 4 ¢ eo

WHEREAS, it has been. réporied that” Mr. «Kern. made offensive’ and
inappropriate reference to special needs students; ‘

_ NOW, THEREFORE, BE IT RESOLVED that the Alleghany County’ Board’ of:
‘Supervisors request that Mr, Donnie T. A. M. Kem, Clifton Forge West District School. _
Board Member, resign immediately from the Alleghany County: School. Board forthe.
good of the County of Alleghany, its sctiool division: and'its‘citizens.

Unanimously adopted.

A COPY TESTE:

    

Melissa A: Munsey
Deputy Clerk to-the Board
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Steve Bennett, Chairman of the Alleghany County Board of Supervisors threatened

the Respondent stating (https://www.youtube.com/watch?v=R-JUXcJ fNSO):

oa -Ale 14 a ees)
ALLEGHANY CO. BOARD OF SUPERVISORS

 

‘“.L£ he doesn’t it will be up te the Board, to detide if we want
to take it to the next level..I think the next thing the
government agency can do is allowable by lati to petition the
court to have a judge remove him um we car take oi attorneys,
file suite, course if he is opposad to it, he can hire. some
attorneys and be opposed. But I will be honest with you there is
hot a judge anywhere in this state that won't remove “hin from the
board...” (Courtesy Alleghany Journal)

“There is not a judge anywhere in this state that won’t remove him
from the board” Steve Bennett, Chair Alleghany County Board of

Supervisors.

The Respondent is the owner of Quill Accounting and Tax LLC. In justifiable self-
defense Quill Accounting and Tax LLC issued a statement in regards to the request
for his resignation, and in response to the statement made by Amy Trail which was

provided to the school board to be read aloud on February 25 2019.

 
 

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Side Note: On October 27 2020 the Respondent during his testimony under oath,
stated he didn’t recall ever making the statement specific to the “R” word. The
Respondent has attention deficit disorder. This was clearly evident during the six-

hour interrogation on October 27 2020.

Below is the statement provided by Quill Accounting and Tax in justifiable self-

defense.
 

 

  
  

Accounting wt TA)

  

OFFICIAL STATEMENT _

Honorable Alleghany County Board of Supervisors and the greater/Alleghariy Highlands Community.

 

 

 

 

| will respond ‘separately at a later time to the details within Amy Tiail's létier as Wéll’as:the details con-
jained within your resolution-R-19-6a that was unanimously passed:on\March Sihs

ln responsé.to your request for my resignation. | have received shotitiolis.-Suppart-frdm community
members; schcol staff, family, and friends to.stay the course and provide @voice for-the.teachers and
children..L want to thank everyone for your-calls, letters, and anonymotis:létlers.l have sought religious
counsel as well as legal counsel, | have done notiiingtowarrani'myrésignation, ~~

ie

 

This: schogl system tor avery long time has deprived many'students with disabilities ofan appropriate

education due to the affordability of resources; -waste-and-abuse,, "budget. roblem "as the, Virginia.

   
    
   

State Police indicated we have, and/or-whatever-we canal,
this misalignment of rasourceés you Nave oppressed the hop aced
ilies into'a-diemal situation who have relied upon education a: dor: essiul-life: Your re-
quest for my resignation is nothing more than’an-éffort:to silence theonly-voice thése children have in
getting these resources back so they can receive:the appropfiaté.éducation that has iong beén danieck
| havé attached a redactéd, notarized document from‘one of the many famitiés who have been denied
this appropriate education to’share their story: This family Was:dénied actess to redress the situation
with the School Board;-why? On January 6th a School Board Member said “I ive them.a hearing.
we have to give everyone a heating’. Sorry parents. of Allegharly County, -n rings for'youl! This
family was forced ‘out of this community. One day | hope | will Riave-the dpportunity:to-weldonie them
back. , .

Mr. Bennett your recent comment in the Virginian Review, “The.board doés not mictomanage the
schoo! division as it evaluates its budget proposal,..we give-you:what.we' n-afford.to:give you", is

agreement io-cal Duo

2ams\6 placed fam-

     

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‘offensive tothe families who have children with disabilities. This affordability. counterintuitive
to the:oblective of Title 22 which requires a budget be funded bas t affordability:

 

When ‘theé‘locality only provides what it can afford, it is. predeterminirig the'ou ‘tany'children's
lives versus fully funding whatis needed to support children with disabilitige:.T

3 SEPP OF with disabilities: This funding methedalogy
is also: going to be the catalyst why our teachers will neverenjoy the pay scalethey,

  

‘desarve.
Theré are'two methods’of appiopriating thie schdel division budget: fund by. “majol.catedoryélassifi-
cation” of “lump-sum":.Liecommend you move'to-an:appropdati major:category which would
provide. greater trarisparency arid oversight of furids"issed to!aducate children. The ‘current laissez-
fair, “lump-sum appropriation method currently:does no justice for the children; familias;or taxpayers
for transparency and safeguarding the use of these, precious-dallars:,| also-reconimend. you end the
“unspent jund rollover” policy that allows unspentfunds tobe J over. intothe:capital-fund. This
policy encourages the inappropriate withholding of resources'so'they.can be ralléd into the

capital fund.and used for the-next year.

 

 

  

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We afl pledge-an allegiance to.the flag of the United States: piaase remember we:pledge.this alle-
giance also to the republic for which it stands. A republic is a system of governance that‘serves the
will of the people.. This school board has been oppressed thréugh-the lack of-a'republi¢ due:to its cur-
Tent appointment. process. Please let the people of this community decide its fulure in-education by
giving the community the ability to choose who should govern their school
system through the election process. If lhe Board of Superviscr's only. care
is to lend money, then let the people decide which direction-we:need to
go. America is about life. liberty, and pursuit of happiness, | was built to —
serve the electorate, thesa-children anc teachers; please do not deny me .
this pursuit or afyone else who wishes to Serve to:mdke their schoo! sysiem
greai.

 

| hope we can all work together through these dark times; | beliéve ii'diplo-
macy. This may not be the response you wanied buiyou will not be getting
a resignation from me, with best wishes | remain

Sincerely, your joyal public servant

 

 

 

Donnie T.A.M. Kern

School Board Member = & Owner —

Clifton Forge West District Quill Accounting and Tax, LLC
Ta whom It may concern

  
 
     
 

CR « SRD «2 0 consent ang permission to b-Kern Alleghany
selical board member ta have complete and full actess to any schoo! records, testing msults, medical
teports and records, emslls, text messages or any other Information about or concerning QD
- Asa schoo! board member it is my undérstanding that Ré should have access to the allies.
GME bs: f consent is needed | heraby gréntitte Mr. Kern. ta love he nee se
Sacause itis my. understanding that Allegtisny.colisders the QS hb Me.
Kern consent to sacok above expacionce in the Alleghany Public Schoo! System AAP
‘ ar to others trying to access an appropriate edt ele child through the
échool system, Gur experiance was toxic end détrimiental tall and sudly-could natbe igealved
fsteing us to relocate to prevent futher damage develapmentally, mentally and financially, -
suffered severe regression and mental abuse with absolutely no accountability fram the school system.
This is wall Gocumentad in all of his developmental and medical recordis These records and regorts
ware all offered to wait: iE? meetings but refused by @pwithouteaveqresdingthe:
information offered so tam unsure if they ace part of the school file” x Is my belicf that Mr. Koya Is.
trying to improve the treatment and atcass to'afipiapriata education.and te keep mibthen child from

enduring what my chid want through,

 
 
   
    

 

 

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‘Bet. 2014,

 

 

OFFICIAL STA‘ (EMENT. _

Honorable. Board: of Supervisors and the Greater, Alleghany. County, Community. - ~

 

 

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Rik Tt

  

Amy Trail Gamed-child advocate) sent.a istter i in. February to-thé: ‘Alleghany: County Schi ard which provided
my usage of.a word that was out of context in addition to other false statemenisihatare nat trué::

My use of the:word “Retard” to identify a program (not a child, student, or individual): and its-lack of'resources.
My use of this. word was indeed a poor choice. {did net aim this word: ‘alany’s sident; ‘or individual: only to
identify a, ‘program, FE ‘deepl y regret using this ideniilier to explain tow’ this: ‘program nest more: resources.
Never. did, i i istentignaly use this: word to olfend anyone. grew up’ in: the. 80: : ‘ouite

 
  
    
  

‘When | worked for tne YMCA, | encountered a situation Sifnllar to this, An inal
towards 4 female émpioyee. | immediately. intervened and’ coretisd

    
 
 

sees arid that my |

use of it didn’t offend anyone in the context that it was. used. a] ‘Spologize: 6 tHose wh /Nave. Mewed my use

of this ward to-bé:offensive: Iwas never. my objective'to difend: anyone BOF tO und: hé-amazing work.and. |
service by the professionals | in this: ‘program. bnow stand corrected: LE ‘prombet Ab vaill ‘do’ better.

 
    

arm Sonar OI Mt tayo RE I A MRR

    

feng IID oe

In. addition, as.of February 26th 2019 we.were also.stil friends dn FaceBook.: Désplte N's. dishonesty and
lack of. credibility’ in her letter, along with'her motives. 4o.send.sehoal offclak 3. this letter! ths later.stiould pasi-
tion you ta. quéstion her loyaltias:and involvement in this:sifuation. li takes a: -UnIgue, Situation: ‘to causé.a child ad-
vocaie to abandon:their own obligation to‘protect children, confidentiality of a: familly, and: etraying.a schoo!
board member who was assisting you in: collecting: information’ to filed: ‘systemic’ complain) Instead: of filing: dhe
‘complaint Amy Trait opled to.train staff and parents: This: training: would rot. correctihe: “budget. problem’, ‘the:
denial of an appropriate education for individuals. swith: disabilities, andAhe: ‘imalfe fer SOUL €

A systemic complaint was-needed. oval, jeast: take € &.ofine: ‘Apptoy
this was the plan: we.do have sysfemic issues.She reviewed. 21 filesca

    
 
  
 

 

 
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Acre MT ee

Amy Trail created a poll: [Logit :
eo veer 16 «20-27 Ait if a Toney wild sLLOF THE ASOVE sreyourdistricts exec systemic
issues i Adoghany County - +H Shy. et theta. apbly 1:

 

asues and 3

 

    
  
 
 
 
  

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ae irdeiventions fist in place . +no FEA. a : 7 NOT. ON SE IEP 1 reviewed b haa. réceived
i 1 BPs . cu :

te ee ee ee, by : Comprehensive Gviugions - TER Ove, ¥FBA's, ane airs,
ve ; RT | delaying nis Find oft ifievaluatons oid ogtios Spreecn aad P qvahuet: ers, Bey ony one
pesos . Loom tk HEP Bad or wien, 1B requires it : . oo
" Systemic back of chi Fins ta : . ° ATS

Seales agit Bop tet

 

 
 

-. Well the aésiest way to bring then
in for an investigation istofind. ©. -

    

 

and file a. systemic complaint ~ like :
i pe 8 : {have done in. Roanoke City and in
A roweeecout - a Franklin County.

 
 

  

 

 

 

Staié to lavestigate special. education cae 4 9-13 PM

complaints In Franklin Cofirity “ “ ee a

Agoup of parenty tins abetiod win tne sation <7 eo Tee —

dedzioc's sesponst racked cults stile Sen. Bil Amy Trail -

‘Stats sofa techies a bast sygertit viene © | That was exactly what was going on

Ta “in Franklin inty, too, We wou!
EM a cow ee ‘have to aa er some evidence.
2 ee i Fs pe oar OTS esd a5: . - . 3 to show. the: pattern: ‘Of breaking ©

“specific: IDEA requiations to gata:
; investigation.or find a couple of
“whistle blowers who will talk too,
ao *We had both in the Franklin. County
‘ Investigation including.a School =
eo ‘Board Member a
922PM

a ee

aes

 
 

"Regan onic 9 Sihoeds “year ceernpliaat* in Sctat
- wdotatical Procadaies

 

The intent for Amy Trait's leties to ba:read-aloud in-order-to' cause han to" a public: cofficlat andisni innocent child
lacks’ humanity’ oral levels. What ig worse: is that the. Ghainman of ti , i
“without any 1éason, a complete, vidlation of privacy, and the. simple: Oh morals:,
concern {oF My use of the word, and detalls-contained In. the letter why. 0 pick Up:
-get-my sidé-of things...lt must havé.been as you'stated in Noverbier- fhe Sche | Boar
vestigations.

  
  
 
 
 

Steve Bennét:| hope.you will navigate to Quill Acccuntifig and Tax: LLC web wdc
Please review the “Because We-Care" page. it has a couple disturbin Wideos: fot your ‘0 Watch’ ‘that: vil speak
volumes to why | protested and left, the January 14th meeiing. | hope’ you are considering: my recommendations
'to hetp‘reform this:situation (elected school board members, appropriation: by major: ‘calégory, removal of the un-
spent funds. policy). ‘We can't just focus on. correcting the “budget problem?, we also. ‘HAVE to focus: ‘on. prevent
ing.the “budget. problem” from happéning’ again. _

 
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‘When I was: appointed, | was.given two tasks: watch the money and do.not push: consolidation; This. -person's
Identity-will remain anonymous because | wouldn't want them to endure: the: flogging that [ have received..|
obliged: | pledged my suppor to Jacob Wright whe became the tront-man for ajointschoa!: ‘systennre ‘and |
waichéd the. ioney:. aven found thé. issue on my first month as a school: aard: mel b solved. Yet,
here we:sit....Seéms thera:is a trand of riot wanling to discuss issues:in' ‘Alleghany: County justlike i
‘division:

 
 

Salas TR

incase you were not.aware, VDOE did not say we didn’t have Issises: {ust that the issiies wore not
within their’scope of authority:

Based! upon our review of your: submitted: ‘materiats,. We see: BO: ‘actionable VDOE i dssuts: svithin.our
scope of authority, Again, thank you for: brining. your.contems-to, ou “attention. We consider thig matter
‘closed arid will not inke any further sclion at this: time.

  

 

rely,

dis (if sale

Thotas W: Broyles; CGFM: CPA
Director of Business and Risk Management

In the erid, Amy Trai! bailed on Alleghany County and the families. that'p! hope ji nd mé. | was teft
with carrying outmy duty that] swore an.oath to’ ‘fulfill, Would you rather tead In. ihe.me d. inthe. Virgini afk
Review; "schoal board member lenves- disabled. chile ren-hanging and diting’¢ on alt be communicating
with the:Gevernor:to get his support in permanently fixing our: composite index to.its pres ious Jevel; that should
have never ‘been adjusted due to our “pudget problem”, | was-under. the impression ANE: ‘all took’ the: ‘same. oath oF
office? It's not.too late to help.

 

    
 
  

wer,

 

 

Sincerely, your loyal public servant

Donnie T.A.M: Kern
School-Board'Member = &: Owner
Clifton. Forge. West District Quill Accounting and Tax; LEG:

ALLEGHANY FIRESIDE with Donnie ‘Kern: FACEBOOIKC:LIKE AND. FOLLOW
Starting May 20"
“Bn. outlet for the truth”- Donnie

  
 

    

Mae tee te ene

ne

‘All leghany Fireside
with, Donnie Kern,

Seto inbttorie ‘a aaa —. 3 a ,
~ mo __ CLIFTON FORGE WEST DISTRICT!

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The Respondent was soon made aware of his constitutionally protected rights after

reading a Dear Colleague Letter drafted by Seth Galanter the then Acting Assistant

Secretary of the Department of Education Office of Civil Rights on published on

Apa 2 24 2013 (below):

 

UNITED STATES: DEPARTMENT" OF EDUCATION: .
OFFICE FOR. CIVIL.RIGHTS

 

‘THE ASSISTANT SECRETARY.
April 24, 2013 .
Dear Colleague:

The Office far. Civil Rights (OCR) in the United States. Departrneat: of. ‘Education (Department) i8
responsible for.enforcing Federal civil-rights taws that: prohibie: discrimif On. b od on'rad
national origin, sex, disability, or age by. recipients of Federal financial;
the Department." “Although a. significant boitiont of the complain 5 filed

   
 
   
 
  
   

investigations and other proceedings, is critical to: ensuting equal educational appsriuat vik
accordaricé with Federal civil rights laws. Discriminatory practices: ‘are often ‘only rai sed.

remedied: when students, parents, teachers, coaches, and others.can repart: ‘such practic
anni ‘without the’ fear. of. Fetalidtion, Individualé should be ¢o conn sinitien

The Federal civil rights laws.make it unlawful to. retaliate. against an individual-for. the iffiose of’
interfering with any right or privilege secutcd by thése laws,? If; for eXample:an indiv _

   
 

 

   
  
 
 
 
 
 

 

Defer agaist iividvals ' ‘ H disabilities if ‘gta at local g povernnteat’ oi
regardless of whether they receive: Federat financial “assistance,

2 The Federal courts have repeatedly affirméd that rétiliatiois a violation of the Fede
OCR. Sze, e.g, Jackson u Birmingham Board of. Education, S44 US, ‘IGT. (2005) Pet £¥, Jenne
21 (dik Cit, 2003); Weeks v. Harden Affe. Corp., 291 F.3d 1307; 13H. Rey Ith Cir. 2003),

” $¢0.34 c. F.R. §,100.7(¢) (Tite VI; 34 G.FR:.§ 108. 7h (Title IX) ‘noorioratini 34:
CFR.'§'104.61 (Section $04) (incorporating 34 CER. $100. 7) by foferénce);; and 34

  

400. MARYLAND AVE. S.W,, WASHINGTON, pec 202021 i
vaamwied poy
se.7: iCol ¢v-0047 1ITG, Dg pagument 1 Filed 09/10/21 Page 82 of 146 Pageid#: 82
Page 35 Dear all cague L

because: he: or she made t a voniipiint, testified: or: -partigipited i in an
or proceeding. .Thus, once a student, parent; teacher,: ‘coach, or: oth
‘or: informally toa: school about: a 1 potential: sivil rights. Violation a

 

 

Steps OCR could require a: recipient’ fo. taketo ensure. ‘cémpliance’i it ihe’ future: incly sti
limited to: ve: ee Ee

. training. for employees abaut the. prohibition ‘against ietaliatio andwaysu to: avid engaging‘
in retaliation: :
@ . adopting a communications stratezy for cnsuring that information’ coticerniing retaliation is,
continually being conveyed ta employees, which. may included incorporating: th prohibition
sHigainst tetaliation into-relevant policies’ and procedures; and;
* implementing, a public outreach strategy to reassure the: public that the Teoipient is committed:
‘td complying with the prohibition against retaliation.

 

  
 

aniemetit, OCR will take: appropriate: énforceméint action. The: ; oom ‘to.
OCR inchide i initiating administrative proceédifigs to suspend; termaindte;-¢ ar. refs | to grantor:

continue finanéial assistance: made available: through: the: Departiner the re ‘recipien ‘referring the.
case'to the U.S; “Department of Justice for: judicial proceedings.* ,

   

 

 

  
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Page'3-—Dear Colledgue Letter: Retaliation

   

OCR-is available to provide technical assistanée 10 entities that request assistancein:
the prohibition. against retaliation or any other. aspect of the:civil: rights. laws, OCR “enfo

visit http://wdctobcolp0)| cdl zov/CFAPPS/OGR {contictus, efin to contact the: OCRiE OnE etfick:

that serves ‘your. state or territory. =

Thatik: “you for your help. in ‘ensuring that America’ 's ‘educational j dnstitutions’ ‘are: free: ‘ida Tetaliation
$0, that. concenis: about: equal editcatiénal oppoitunity’ can be 2 opéaly: raised: find addresséd.”

Isl

Seth M. ‘Galanter. Mcgea ne

 

In July 2019 two ACPS employees filed complaints alleging hostile work
environment against the Respondent. The Respondent with the help of counsel
requested copies of the complaints and accompanying documents. The Respondent
was told the complaints would be provided at the conclusion of the investigation.
The investigation concluded. The complaints and accompanying documents were
never provided to the Respondent. At the conclusion of the investigation, it was
determined by Eugene Kotulka, Superintendent that due to the report filed by the

Respondent with state officials a hostile work environment was created (below).
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Mir. Dennte T. Roern e” ee ranean
115 Chorch Street os
Cliltan Forge, Virginia 24422 - SS,

Re: Sehoal Hoard Policies GHB and GB, AisR HAS I vest ination Findings
Dear Mfr Kerm

Qn Jane 19, 2079, Mieehors County Public Schools (ACPS") intiaied a third-party
investigation pursuant tu School Beard Policies GBB uad GBACIFULA In response to allegations
from tea ACES cranny og that you enpaged ip harnecniont aguics! thee and created an abush. ¢
work. environment Pursua wi to the School Hoaed Policies, Dr. Latty Massiv, foemer”
Superintendent of BuchinglusnCouny Poblic Schouls. hevestigatedthe allepstiony. Dr, Massie
completed a report of his in eaiigation on Gerber 1. 2029, which stee received i my attics on
Geeber 4, 2074,

 

| have reviewed Dr. Mossie’s Investigation mepiirt. Thee ilence indicates that ying nude
numenwus Writen and oral abegdtions of ‘ pal ic nature aboul the ta ACES copie, ces whe
ulated cumphiat against you, These allegations were contained in the 140-paue document
subnutted Wt the Supwrints snilvat of State Pekan thé Ainhtorof Public Accounts, and the State
Inspector General on Deceriber 11, 2018 and in other communltanans, Your actunntions were
uragedsis and highly inilatiineiors in nevire, amb Dr, Massig’s Uibvestigution acreaied that icy

Licked ny buvis in feel. Dr. Massie found that yorr actions in waking {hlse allegations agains
he tun ACPS employees eotistituted harassment and creaied an abusive work envidstinent Sor
ihem in vindation af Policies GAG und GRATFEHA, Tapree with Dr, Maasie’s conetuston thai
Policivs OB und GRA FPHA were viele by sou wiht respeci fis buth anphiices.

 
     

 

 

   
 
 

   

Policy GBAGFHA pravides tikat itt determine thar it is mone likely than not that prohibied
harsearent occume), ACP “shall take prompi, nppropriae é action he dilleess and remieds the
vinlition ts well as prevent sity recurrence. Such active may incline discipline up to and
including capuilsicn or dh butte 2° fresh ste leu, ac the Supsrletensden, | lock digelplinary
authority to remove yuu fiom the School, Bord, Aga result. | any: forwarding D4, Kineic’s
findings te the School Beard and referring the mattert o'vote as ta the aparopriate acthin thai
AC pe will ncke us a result of sears ialation of Palleies GAB and GBA FILA.

  

Pigose fering Kauw if vary tee any questions,

sincerely, _

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homeo Es eo ' 2 pve sé ina . : - ap .

big SOF Hh ns

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Supediniendons
Mileginum County Public Schools

 

 
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After the investigation concluded October of 2019 the Respondent sent
communication to members of the Alleghany County Board of Supervisors
regarding the investigation and the outcome by ACPS. He received no response
from members of the Alleghany County Board of Supervisors. No further action

was taken.

 

 

 

 

 

 

 
 

 

 

 

 

The Respondent filed a complaint with the United States Department of Education

Office of Civil Rights around December 2019.

June 2020 to July 2020 issues began to arise with Eugene Kotulka, Superintendent
and was subsequently placed on administrative leave, he wasn’t allowed to attend
High School Graduation, he had to clean out his office, and turn over keys to the
vehicle he used. In an attempt to benefit both parties ACPS drafted a settlement

agreement by and between the School Board and Eugene Kotulka, Superintendent

(below):
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AGREEMENT
th at Pipes OO
This AGREEMENT is made as of this # day of July, 2020, between Eugene P. Kotulka
(hereinafter “Superintendent and the Alleghany County School Board, a Virginia body politic,
(hereinafter “Board”).

REASONS FOR AGREEME

1. The Board and the Superintendent entered info a contract dated July 1, 2017, whereby
the Superintendent was employed as Division Superintendent for a period commenting July 1,
2017, and ending June 30, 2021 (hereinafter called the “Contract”?

2. Under the Contract, the Superintendent would be entitled to substantial payments and
benefits for the period remaining on his Contract.

3. The Board and Superintendent mutually have agreed to a date for the
Supetintendent’s retirement earlier than otherwise contemplated in the Contract efféctive closé
of business on September 30, 2020, and to reach agreement and resolve any questions regarding
his entitlement to payments and other benefits upon retirement under the Contract or otherwise,

GREEMENT

For and in consideration of the mutual promises and commitments specified herein, the
parties agree as follows:

1. Retirement, Upon execution of this Agreement, the Superintendent will retire as
Division Superintendent of the Alleghany County Public Schools effective as.of the close of

business on September 30, 2020. A copy of the Superintendent’s letter of retirement is attached
hereto as Exhibit A.

(a) ‘The Superintendent will remain on administrative leave until the effective
date of his retirement.

(b) The Superintendent will remove all personal items from his office and
return any Board property to the Clerk of the Board by uly26, 2026 at 12:00 p.m,
2

het
{c) The Superintendent's automobile entitlement will end on July 20, 2020 at
12:0 p.m.

2. Payments. The Superintendent shall be entitled to the following payments from the
Board:

(a) The Board will pay the Superintendent his current salary until the effective
date of his retirement.

(b) The Board will pay the Superintendent $22,553.71 for unused annual
leave,
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(c) The Board will pay the Superintendent.$2088.75 for unused accurnulated
sick leave in Alleghany County Public Schools, earned pursuant to the Board policy in effect on
that date.

(d) The Board agrees to pay the premium for the Superintendent for family
coverage in the Board-sponsored health insurance program through September 30, 2020.

{e) Notwithstanding any prior Agreement to the contrary, the payments
provided for in subparagraphs (a) through (d) above constitute the total and complete financial
obligation to the Superintendent on the part of the Board, and the Superintendent shall not be

entitled to any further payments from the Board in any amount related to his employment by the
Board.

3. Non-Disparagement. The parties apree not to disparage, criticize, or speak negatively
of the other. This Agreement is entered into in good will for the mutual benefit of the parties,
and the Superintendent and the Board agree to treat all communications with each ather and with
the public in that positive light. Other than official action required by state law, the parties agree
that the only public staternent to be issued by either party will conform to the statement attached
hereto as Exhibit B.

4. Confidentiality, The Superintendent represents and agrees that he will keep the
terms, conditions, covenants, and existence of this Agreement strictly confidential, and will not
disclose, or cause to be disclosed, any information concerning this Agreement that is not made
generally available to the public as required by law to any person except his immediate family
members, legal counsel, and accountant, and then only after such persons have agreed tiet to
disclose any facts concerning the scttlement, The Superintendent further agrees not to disclose,
or cause to be disclosed, any information conceming this Agreementto any media or publishing
entity. Notwithstanding the foregoing, the Superintendent's obligation of confidentiality shal!
not extend to any disclosure mandated by law, order by a court of competent jurisdiction.

5. Buperintendent's Cooperation. Superintendent recognizes that, because of his
position with the Board, it is important that the Board’s employees and the public perceive that
his retirement is a mutually desirable and positive event. This Agreement is entered into in good
will for the mutual benefit of the parties, and the Superintendent agré¢s to treal all
communications with the Board and with the public in that positive light. From the effective
date of the Agreement until $:00 p.m. on September 30, 2020, Superintendent agrees to
cooperate with the Board to resolve pending litigation or state and federal complaints arising
during the Superintendent’s employment about which the Superintendent has knowledge. The
Board agrees to announce publicly only that the Superintendent is retiring as set forth in Exhibit
B, The Board will make no other statements regarding the end of Superintendent's employment
except as set forth herein. .

6. General Release. In consideration for this Agreement and the benefits accorded to
him hereunder, Superintendent agrees, for himself and his heirs, representatives, successors and
assigns, as follows: Superintendent has retired from employment with the Board effective
September 30, 2020. Superintendent waives, releases and forever discharges the Board and its
employees and agents, from any and all claims, known or unknown, that he has or may have
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relating to or arising out of his employment with the Board and the cessation thereof, Including
but not limited to any claims for any cash payments except as provided herein (but excluding
reimbursement for expenses accrued and documented in accordance with Board policy), any
claims of wrongful discharge, breach of express or implied contract, fraud, misrepresentatian,
defamation, liability in tort, claims of any kind that may be brought in any court or
administrative agency, any claims under Title VII of the Civil Rights Act of 1964, as amended,
the Age Discrimination in Employment Act, the Employee Retirement Income Security Act, or
any other federal, state or local law relating to employment, employee benefits or the termination
of employment, ar any other claim arising out of or relating to'Superintendent’s employment,
excepting only his benefits under the VRS retirement plans, the provisions of this Agreement ,
andl Article XH, “INDEMNITY”, of the July 1, 2017, Contract, which are not waived or
released, and which by mutual consent of the patties survive this Agreement and reraain in full
force and effect.

The Superintendent recognizes that in signing this Agreement, including its release of claims, he
is waiving his right to pursue any and all claims under the Age Discrimination in Employment
Act, 29 U.S.C. § 626 et seq. (“ADEA”), arising prior to the date that he executes this Agreement.
‘The Superintendent acknowledges that he has been given the opportunity to consider this
General Release for at least twenty-one (21) days, which is a reasonable period of time, and that
he has been advised to consult with an attorney in relation thereto prior to signing this General
Release. The Superintendent further acknowledges that he has had a full and fair opportunity to
confer with his attorney, that he has carefully read and fully understands all of the provisions of
the General Release, and that he has executed it of his own free will, act and deed without
coercion and with knowledge of the nature and consequences thereof. If the Superintendent
executes this General Release in less than twenty-one (21) days, he acknowledges that he has
thereby waived his right to the full sventy-one (21) day period. For a period of seven (7)
calendar days following the execution of this General Release, the Superintendent may revoke
this General Release by delivery ofa notice revoking the same within that seven (7) day period
to Patrick T, Andriano, Reed Smith LLP, Riverfront Plaza ~ West Tower, 901 E. Byrd Street,
Suite 1900, Richmond, VA 23219, pandriano@ireedsmith.com. If the Superintendent does not
advise Mr. Andriano that he revokes this General Release within the revocation period, the
General Release shall become effective and shall be forever enforceable. The Superintendent
understands that if he revokes this General Release, he will not be entitled to the consideration
set forth in this Apreement , including the consideration in Paragraph 2 and its subparts, and that
if he has received such consideration, he agrees to repay the Board for al] sums paid to or on his
behalf.

7. Board’s Genéral Release. In consideration for the promises and obligations stated
herein and the Superintendent’s resignation, the Board, for itself and its successors, to the extent
permitted by law, waives, releases and forever discharges the Superintendent frorvali claims,
known or unknown, that Board may-have or may hereafter disciiver against Superintendent
arising out of or related to his employment and the discharge of his duties as Superintendent.

8, No Admission. It is understood and agreed that the Board has admitted no lability
for the benefits provided herein or for any other benefits other than those provided by contract or
Board policy. The Board and the Superintendent have entered into this Agreement for the
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purpose of maintaining an amicable and cooperative relationship bepveen Superintendent and the
Board, and to eventually separate in a positive and equitable manner.

9. Entire Agreement.

(a) ‘The parties understand and agree that all terms of this Agreement are
contractual and are not a mere recital, and represent and warrant that they are competent and
possess the full and complete authority to covenant and agree as herein provided.

(b> Superintendent understands, agrees, and represents that the covenants
made herein and the releases herein executed may affect rights and liabilities of substantial
extent and agrees that the covenants and releases provided herein are in his best interest.
Superintendent and Board represent and warrant that, in negotiating and executing this
Agrecment, they have consulted with competent counsel or other representatives of their
choosing concerning the meaning and cffect of each term and provision hereof, and that there are
ho representations, promises or agréemerss other than those expressly set forth in writing herein.

{c} The parties have carefully read this Agreement in its entirety; fully
understand and agree to its terms and provisions; intend and agree that it is final and binding and
understand that, in the event of a breach, either party may seek relief, including damages,
restitution and injunctive relief, at law or in equity, in 4 court of competent jurisdiction.

10, Attorneys’ Fees, Each party shall be responsible for his or its own altomeys" fees in
connection with this Agreement.

IN WITNESS WHEREOR, and intending to be legally bound, the parties liave executed
the foregoing Agreement this____ day of July, 2020.

HW 20 of £4 an. C Dh

Date Eugertt P. Kotulka

 

ALLEGHANY COUNTY SCHOOL BOARD:

 

 

Date Jacob L. Wright, Chairman

 

 

Date Danielle 1. Morgan, Vice-Chairwoman
Case 7:21-cv-00471-TTC Document1 Filed 09/10/21 Page 91o0f146 Pageid#: 91

 

Date

 

 

Date

Gerald E: Franson

 

 

Date

Donnie T. Kern

 

 

R. Craig Lane

 

 

Date

Jennifer 8, Seckner

 

Randall §. Tucker

ibit B

The Alleghany County Schoo! Board and Mr. Gene Kotulka jointly announce that Mr. Kotulka
has given notice of a decision to retire on September 30, 2020, a decision the School-Board
acknowledges and accepts. The Schoo! Board expresses gratitude for Mr. Kotulka’s years of
service and wishes him well in retirement. Mr. Kotulka’s contract with the School Board will be
deemed terminated by mutual consent on his announced retirement date.
 

 

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The Respondent objected to the use of the settlement agreement. The Respondent’s

objection to Jacob Wright, Chair and Danielle Morgan Vice Chair of ACPS is

below.

Atigust 3° 2020 po

Alleghariy County School Board

‘Peers, | oo
Between July:22:to August:2,2020 |. have: carefully: reviewed the: agrebiment between tiie Aletiany

County: School Board: ‘and § perintendent. Eugene Kotulka. Upon

reflection Involving signing: this “agreement. My review fn: summary,
Board is:

   
 
 
 
 

 

 

© Paying $24,642.46 In unused Personal! ng ve and: Sick Leave. =, Reviewing ‘sctio.
this seems to be inore: payout ‘of Peison al ‘Leave and Sick heave’ then what th
may haveearned: fer @ combination of both).

e Pald: Administrative Leave along: with’ current employmént benefits during: the Administrative
Leave period until the Superintendent's retirement date.

   
 

 

   
   

accountable fe for ‘their: inmpropriaties Gr 7 that these ifibrop
the: public trust...

a Indemnity (Under Séction Xltof the july” 3; 2017 contract indefinite) y forever.

All of which were supposedly. negotiated in goed faith and: swith mutual consi tderation:

 

otiginated from the need of self-preservation and: dismissal of accountability in cont
consideration. :
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As you may or may not be aware; | have filed a complaint with the United States’ Department of
Education Office of Civil Rights which was promulgated by retaliatory actions sof t is: Sctical: Board/due to
my attempt to secure-the civil rights of our most vulnerable children. This complaint at thistime is still
under Investigation. | have had my legal tear send correspondence. to this Schook Board Lin-regards to
my own child’s ‘experience of intentional discrimination and the. gilévous denial: ‘ofa free and:
appropriate education which to this day is still unrasolved’ [emphasis added]. Thi § corfespondence was
shared with this School Board. My family and | have extraneously’ suffered ‘due’ to. the’ ‘shenanigans of
this School Board financially; educationally, and emotionally.

 

Furthermore, School Board'policy does not require that | sign: i this’ agreement, my. Signatur ra.of
acceptance and agreement is not needed. The sthool Board has never valued my opinion; ff:the-School
Board.did value my opinion the Superintendent Eugené Kotulka would have been terminated in
November of 2018 or in July 2020 along with: other individuals that have. made some really” bad choices.
The Schos|.Board would be incorporating. budgétary best practices recommended by i federal: ‘agencies
and the Virginia Schcal Board Association $o that we are not asking for millions in furids that go unspent
each: ‘year, The Schoo! Board’s, Special Education Advisory Committee would be’ robust and affluent so
that all of our community’s children receive.a free and appropriate: aducation, My wo: children would be
currently enfolled in Alleghany County Public Schools receiving a free: and: appropriate. education instead
of being homeschooled like the other 107 students which currentlyJs costit ng our -cornmunity
approximately $650,000 each year.

in. addition, (believe this agreement is an interference and sequestration ofmy: ‘constitutional rights and
ability to seek governmental redress which Lam currently.in the: process of exercish ing. i view this.
agreement as.an intentional and retaliatory effort by, this Schoo} Board. This agréement i is-repulsively
insulting. The Schoo! Board's best option is ta remove Superintendent Eugene Kotulks, ‘because
retaliation should never be tolerated. Superintendent: Fugene Kotutka: deserves, no: less: than to be
accountable for his actions, along with others that were Involved. ‘This agreement. is: Nothing. more than

a safety mechanism of self-preservation for-the Superintendent, and current members of this School
Board; excluding me.

if Superintendent, Eugene Kotulka felt-his “integrity” was dishonored leaving him-with the ‘only option of
resigning from office {which he publicly. did on June 22, 2020) then'there would be fo need of such an
agreement. If the School Board Is willing to remunerate over $50,000 i in: ‘salary; arid: benefits (some: of
which were ‘never eamed) this Superintendent should be thrilled with. leaving. Whiy: is there a need for
the bells and whistles In this agreement whith is self-evident to silence and protect everyone’ interest
excluding mine. The provisions within this agreement are an apparent conflict of interest.

Under the Code of Virginia §22.1-65 itstates: *

“A division superintendent may be assessed a reasonable fine’. suspended.from ¢ office for a
limited period or removed from office by either the Baard-of. Education, ‘upon F racémmendation
of the Superintendent of Public Instruction ‘or the school: boa rd of. the divisi n for sufficient
cause.-A division superintendent may appeal.to the- apbropriate, circuit cdurt: any decision ‘af the
Board of Educatian or schoo! board to assess a fine: against: him. ar.to suspend’ orremove him

from office and.shall be entitled to a trial dé fiovo on such ‘appeal of whether there was
sufficient cause therefor”

  
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The School, Board should enact §22.1-65 under-the code of Virginia. have : presented. amazing support
that could be used for the Superintendent’s removal to the. United States Office of Civil Rights which is
approximately 500 plus pages including audio. The Schou! Board’ could rely on ‘this: 4nfofmation alone. |
will gladly testify in an administrative or judicial hesring.

It was the overall. consensus of this School Board.wanting, him: removed.. «why the need foran
agreement? If the School Board enacted §22,1-65 the School Board: Would’ not: have to pay out. anything.
We would.save approximately $50,000. 4s we all have. learned: in. ‘the past ‘two years; and Yr opine. the:

wise words of lacob Wright, Chairman “Dannie was right about things that we. didn’t know”. | ain right
about this.

This'agreement is no more than a “settlement” as a peer on-this Board has described It:

How do you think it made me feel when Fred Vaughn, Director of Human. Resources for:th the School
Board.came to my workplace, forcing a complaint fetter. in my hand and coercirie. me to.go visit an
interrogator the very next day, emailing me,. callie me.. nonstor harassment?.

How do you think it made me feel when Dr. Elizabeth Heath told my: wife that-she-didn’t have to be
invited to a meeting to discuss $04 plan accommodations for? our: child? Most Tecently: on July. 20% 2020
during closed session, ance-again out of concern for, the security: of the civil rights for our most
vulnerable children; | rafererice my own personal ¢ experience. with: a 504 plan. 1: indicated that my
experience as a parent with Dr. Ellzabeth Heath:arid the 504 plan ‘has not great. She. réplied: that “lam
not aware of any plan”. How do you think’this made me feel?

I will tell you how | feel. { opine that this Schobl.Board may have a systemic issue with Child Find
{emphasis added]. In case you were not aware, you provide individualized instruction through:an
individual Education Plan (JEP) and not a S04 Plan: You may warit‘to fix-that. | am not sure at this point if
Amy Trail’s statement about this School Board’s mistreatment of an African American student being
placed In a “closet” is completely without merit.

You say this agreement was done In’ mutual consideration? Let-me share with you how.| feel. | think not.

On behalf of all my constituents who have been wronged by the Alleghany County.School Board |
unequivocally object to this agreement. Based on the information| have. provided: you and under good

conscious | am unable to sign this heinous agreement indicating T my agreeing OF: ‘approval Of: it or any of
its binding provisions contained within it.

This spétement is made without the need for reply ar continued discussién.. With best wishes! remain

School Board Member

 

ction Sr, virgin
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Prior to the departure of the Eugene Kotulka, Superintendent for ACPS the
Respondent received several disturbing phone calls. One was specific to the trying
to convince the Respondent to approve the budget that would deny employees at

ACPS a raise. In this conversation he disclosed to the Respondent:

“Just remember when you’re looking at this ok....uh....(long pause).....I
still think you’re a good board member ok, and I would say that if I was
a regular citizen, I know we don’t always agree on things and that’s ok.
Whether or not my contract plays a role in this is not relevant to me, I know
its relevant to others. It’s a minor thing, it could be a major thing. If we take
the raise their (Alleghany County Board of Supervisors) going to cut us. I
don’t have any control over that, you don’t have any control over that
alright. Could they be bluffing? Sure, but I don’t think so based on the
conversations that I have had, Randy’s had, Jacob’s had, and...and

Jennifer’s had”

In addition, another phone conversation the Respondent had with Eugene Kotulka,
Superintendent prior to departure was Eugene Kotulka trying to convince the
Respondent to support returning $500,000 up to $1,000,000 back to the Alleghany

County Board of Supervisors. Eugene Kotulka, Superintendent states:
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“It looks like we will have about $500,000 or so left over at the end of the
year. I had long talks with John Lanford (Alleghany County Administrator)
and instead of cutting our budget my recommendation will be to have that
$500,000 up to ten-hundred thousand ($1,000,00,000) turn that over to the

board of supervisors”

Alleghany County and City of Covington was contemplating a joint school
division. The Respondent didn’t like the idea because it did not provide for elected
school board members. The Respondent in several capacities and through the
exercise of the Respondent’s constitutional rights of speech, redress and assembly,
among other things submitted a published article with the Virginian Review

(Shown Below):
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Paid Advertisement

Greater Alleghany and Covington Commuinity and Editor:

“Tam not asking what is going on, I am jast telling you whatever it is it can’t be right, so you might
want to fix that. I don’t want to come. down to that school and find out she/he is still in a closet some-
where” as.stated by Amy Trail to Dr. Elizabeth Heath, Director of Special Education for Alleghany
County Public Schools pertaining io the scholastic conditions within the Alleghany County School sys-
tem in-regands to the weatment ofan African American student,

Amy Trail was a Special Education consultant for the Alleghany County Selioo] Board, Dr. Eliza-
beth Heath opined that Amy Trail was “the support that we need but don’t have the resources to pro-
vide". As it was told to me by an employee, this same African Anterican student one day was carrying
gifts and when the student was asked who ihe lucky person was that would be receiving these gifls, the
student identified the individual responsible for placing them in the “closet” as described by Amy Trail
and stated: “I just want sheshe to like me”,

Due to this student's situation and others coupled with aggravated circumstances I made the consci-
catious decision to ask for an investigation from state officials. To this day no investipation has ever
occurred. I was told the situation was the responsibility of the appointed Alleghany County School
Board. What came next was Dr, Elizabeth Heath providing a defamatory letter to be read-aloud like a
story book detuiling my own child’s substandard experience with the Alleghany County School Board.
The Alleghany County Schoo! Board then requested $60,006 from the Board of Supervisors for legal
{ces so the School Board could have their atforney’s “Deal with Mr, Kem’ as stated by Randy Tucker,
Chairman. I publicly asked for diplomacy in this newspaper after this was stated, Instead of being met
with compassion and understanding the door of vengeance was opened and retaliation ensued and un-
fortunately is still currently ongoing. The United States of America is now reviewing approximately
eleven incidents of retaliation by the Alleghany County Scheal Board,

The Alleghany County School Board epizally failed to deal with me just as they have failed so
many of our most vulnerable children in providing a free and appropriate education, L felt inclined to
Write this letter because of the upcoming vote on the joint school system. [feel I would be doing a dis-
service to dux most vulnerable children, their families as well as the xood people of Covington had I
stayed silent, .

This joint school system forgues the opportunity to elect menibers of the new school board created
under this proposal that will be voted on, The promise of self-governance is owed to cach citizen and
instead of fulfilling this promise endowed by the Declaration of Independence and correcting the mis-
takes of the past we are going to continue on this reckless path of appointment, 1 have been on the Al-
leghany County School Board for two years. I do have lots too feam ag Randy Tucker mentioned in our
August 17 2020 meeting.

 
 

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I would like 19 provide a small reflection of what I have leamed thus far since my appointment on
the Alleghany County School Board. Appointed and administrative officials are absent any accounta-
bility for their actions or inactions. The Board of Supervisors wants the School Board to retum
$500,000 that was budgeted but never spent. The Board of Supervisors has stated that jf we do not te-
tum this money, they will cut the exact amount from our 2021-2022 budget. The Board of Supervisors
threatened to cut the Schoo! Board's budget if we provided a raise to staff in the 2020-2021 budget, An
impermissibic amount of $700,000 in class room instruction funds were unspent for the 2019-2020 fis-
cal year; yet we can’t equalize staff salaries at the cost of $460,000, Despite having a plethora of un-
spent funding year-after-year, the School Board is beseeched in what it can and cannot do with it. The
School Board currently has no parliamentary procedures in conducting bourd meetings. We do not al-
ways follow the Freedom of Information Act. No consistency in appointing mandated committees; ex-
ample the school board policy mandates we have a Budget Committee, this committee is appointed
during the reorganization of the school board. This Budget Commiittce has yet to-be appointed in 2020.
1 offered to serve on it, and utilize my accounting skills that f obtained in completing my Master's De-
gree in Accounting and fix all the budget problems but when the time came to appoint, Jacob Weight
decided not to and moved on to the next agenda item. I abstain from voting on financial spending duc
to not receiving adequate information to ascertain if the Schoo! Board is adhering to its mandated
budget on 2 monthly basis. I do not recvive information regarding assets and liabilities enabling me to
understand the schoo! board’s financial condition. How am I supposed to approve the payment of bills,
if F am not provided information to know if we overspent or not? The Schoo! Board and Board of Su-
pervisors in approving the 2020-2021 budget will magically purchase a $90,000 school bus with
$75,000. They also approved the reduction of $120,000 in speech services despite having an increase
of students bringing the total to 67 students that would require these services. It was explained to nic
that we didn’t have enough money, The School Board is about to approve the return of $500,000 ta the
Board of Supervisors that could have been used to correct these deficiencies, I was informed during the
August 17th public miceting that the Joint Services Committee will be appointed by the Superintendent
versus the Schoo! Board in an effort to begin having mectings that are not open to the public.

Three months into my term | sat in a closed session meeting where “He who shall not be named”
sent the police after a child advocate for a credentialing snafu. “He who shall not me named” encour-
aged our School Board to climinate a position because it was held by an employee that was described
as a “Major ADA compliance issue, a major, major one”. As a parent J asked my school system to help
accommodate my child yet ] am told we don’t have money to do it with. Which is supportive due to the
rationale of Randy Tucker indicating that if'a “kid needs a dog, were not supplying the dog” during a
budget mecting. In case you were not aware in the last six years the home school population has in-
creased 33% that’s a toral of 107 children that are currently homeschooled, 1 learned the hard way of
why; now my two children have been homeschooled for two years now. The homeschool population
creates on unrealized revenue source of approximately $650,000 because these familics do not enroll
them in our school system

 
 

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This method of appointment has to end, God willing [ will see that it docs, as | have made prepara-
tions to collect signatures beghming in January to have a referendum placed on the ballot in 2021. 1
have strived to be honest, secountable, and transparent to ihe public. | ereatéd a Facebook page in
2019: Alleghany Fireside w/ Donnie Kem to do just that, If anyone want to assist with the referendum

project pléase reach out. Let’s make history together.

1 commend the efforts of the joint committee in putting the joint school proposal together. I support
working together and achieving economies of seale, { think Mr, Dressler and Mrs. Zeek would have
been good participants to have at the table as they have brought up very good scenwriios that are not ex-
plained in this proposal. I feel responsible for this effort, so 1 feel { owe you why I will not be votiiig in
favor of it, Ido not believe having an appointed school board is unacceptable. [recommend that the
joint connniltce stay the plan until the proposal voied on with an elected school board, As it was sig-
gested to me by Senator Creigh Deeds, you should request a legal opinion from the Virginia Attomey
General if the plan can be proposed with having an elected scheal board.

Good people of Covington, if you want the administrative and
to learn about over the course of two years, then you are about t6
gct it. However, E will not be held xesponsible for giving it to
you. You do nat deserve it, no one does, You will have to get it
from Someone else. I refuse 0 expose another funily, student, of
siaf¥ member to the treatment that others have received by the Al-
leghany County School Board, I will not condone this treatment
now or in the futare, } am voting no on the joint school plan as it
is currently being proposed. Ifyou want to attempt to stop this
machine, [recommend collecting 301 signed letters indicating
disapproval, make a copy, then send them to Senator Creigh
Deeds and Delegate Terry Austin to show there isn’t commanity
support, Have individuals that show up during the vote to sign
such a Jetter. Pack the house when the vote occurs with your gov.
croing bodies and tell thens how you feel. You can alsa coine
show support with your presence in silence or through applause,
if you want fe say something and don’t know what to say you,
can read this letter. It may inciie tears, anger, or vomiting, some-
thing I experiénce cach time | think about it contents. Invite
WDBI7, This letter is intended to seck governmental redress in
an attempt to secure the civil rights our most vulnerable children

  

 

 

 

 

 

Donnie T.A.M. Kern, M.S.A., EA
School Board Member-ACPS
Clifton Forge West District

— 115 Church Street
Clifton Forge, Virginia 24422

protected by such rights, It is a violation of federal law to retaliate against an individual that attempts
to secure the rights of those that are protected by such rights. With best wishes I remain, always

Your loyal public servant
Donnie TAM. Kern

 
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On September 9 2020, George “Matt” Garten the new Chairman for the Alleghany
County Board of Supervisors in replacing Steve Bennett who became the Vice
Chairman stated at the conclusion of a joint meeting between the Alleghany
County School Board and the Alleghany County Board of Supervisors

(https://www.youtube.com/watch?v=_B-mjZqT5sU&t=46s):

 

“...Last week Virginian Review
published a paid piece written by
school board member Donnie Kern.
Those of you who read the piece
would agree with me that it
contained a number of serious
allegations and references. The

allegations imply that numerous

 

 

 

 

officers, representatives, employees of Alleghany County and Alleghany
County School Board have engaged in conduct, if true would be
considered illegal and unethical...We should begin by holding a meeting
and summing Mr. Kern to testify before us under oath to eliminate and

clarify allegation made in his written paid piece”
 

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On October 6 2020 the Alleghany County Board of Supervisors held a regular
meeting. The meeting agenda had Jacob Wright, Chairman of the ACPS providing
a presentation on legal fees. Steve Bennett stated during the mecting

(https://www.youtube.com/watch?v=rX1Bo3yZO3w):

“We heard from Mr. Kern, and we heard
from you (Jacob Wright) it’s been
pertinent. the best way I know to sum it up
is either our school system has a big
problem or Mr. Kern has a problem. We
need to figure out which way it is. We are
going to have to get into this. It’s one way
or the other”

 

The Respondent contests that his experience as it was shared within the published
letter is accurate. The Respondent affirms that Amy Trail is the only individual
who has significant knowledge of the issues within ACPS. Amy Trail admitted to
the Respondent she had gathered enough evidence to file a systemic complaint.
The Respondent is unaware if the Alleghany County Board of Supervisors has ever

investigated Amy Trail’s findings.
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On October 27 2020 the Respondent attends a hearing sworn under oath with
members of the Alleghany County Board of Supervisors. Jim Guynn states during

the opening of the hearing:

will be glad to take a break. We're not
here to try to -- we don't have a rubber
hose and we don't have a big, bright light
on you or anything else. We're just trying
to get to figuring out what is going on

with our School Board and what is going on

Jim Guynn of Guynn, Waddell, Carroll, & Lockaby, is counsel for the Alleghany
County Board of Supervisors. Jim Guynn assisted members of the Alleghany
County Board of Supervisors in filing a petition under the penalty of perjury on
December 2 2020. The petition contained multiple false statements which were
also known to be false by Jim Guynn and members of the Alleghany County Board
of Supervisors when the petition was filed. The following have been made aware
the Alleghany County Circuit Court, the Honorable Judge Ed Stein, the Honorable
Clerk of Court Debra Byer, and the Commonwealth of Virginia on August 10 2021

when the Respondent filed a motion for continuance.

Below is the petition filed by the Alleghany County Board of Supervisors under

the penalty of perjury on December 2 2020.
 

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IN THE CIRCUIT COURT OF ALLEGHANY COUN

BOARD OF SUPERVISORS OF
ALLEGHANY: COUNTY,.

 

Petitioner,

 

vs

DONNIE: a. A. M. KERN,
. Shea Forge, VA 34450.
Respondent,

 

  

val eo * . as

PETITION FOR REMOVAL PURSUANT TO}

 
 
    
     

‘ihe Board-of Supervisors of Alleghany County. states as follows,

1. ‘The Board of Supervisors of Alleghany’ County: (igteinaficn Bois

 

2, ‘On sevetaloccasions after he assumed office as ; schol Hosta: Seen] ‘Kemlias:
referred to. special needs stiaderits:as “retards,”.

3

 
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defamed the director of special education for Alleghany. County Pisblic Schools‘and ‘other school
employees.
6. Since his.appointment to the schioal board, Kem, ‘Has eniaged in behavior toward

school division staff and administration that promipted a “itienibet of the schodl 'nston fo

file a:complaint of a hostile work cnvironment as a result-of Kern's actions... wy Bhat’

7. Pursuant to policy, the schoo] board retained 2 third party to investigate the hostile

work. environment allegation.
8. Kem refused to participate in the investigation even though it was ‘mandated by

school board policy.

9. The third party neiutral found that Kem indeed created Es int work: environment

for the administrator.
10.  Kern’s actions since the Board of Supervisors, appointed iim, to thie school board
constitute a vendetta fueled by Kern’s belief that the school system has soinehow instratea his .

child or children.

ll. Kern has made false and baseless complaints of illogalities ‘and corupiion ai
Alleghany County Public Schools that have disrupted the work of the schoo! administration and
cost the school division thousands of dollars in legal fees that were otherwise urinecesiary. :

‘12. Kem’s actions constitute neglect of duty, misuse of office, and incotipetence in
the performance of his duties. a |

13. Kern’s neglect of duty, misuse of office, and incompéténce in the pecfontiuhice of
his duties have had a material ‘adverse effect upon the conduct of thé'schoot board: :

WHEREFORE, ‘the Board of Supervisors of Alleghany County respectfully, requests that

this Court issue a rule to show cause why Respondent Kern should not be removed-ftom the

 
 

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‘Jim 1. Guynn, Jr. (VSB. #22299):
‘Guynn, Waddell, Carroll & Lockaby, PG,
4iSS College Avenue

  
 

PRone, $403 87-23%0-
Fax: 540-389-2350.

jime @euynawaddell.com ——
Counsel for Alleghany County Board of Supervisors .

Respondent’s counsel (at the time) on December 8 2020 responded to the
Alleghany County Circuit Court in response to the petition requesting a jury trial

among other things under Virginia Code §24.2-237. The petition response states

“In the Petition, the Board of Supervisors advance a number of allegations

against Mr. Kern, all of which Mr. Kern intends to vigorously contest”
In addition, it states:

“Mr. Kern reserves his right to file [sic] a written response to the Rule to

Show cause”

Below is the motion filed by the Respondent’s counsel at the time.
 

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VIRGINIA:

IN THE CIRCUIT COURT FOR THE COUNTY OF ALLEGHANY

BOARD OF SUPERVISORS OF )
ALLEGHANY COUNTY, )
Petitioner, Case No. CL20-827
.
DONNIE T. A. M. KERN,
Respondent.

MOTION FOR JURY TRIAL PURSUANT TO VIRGINIA CODE § 24.2-237

 

COMES NOW the Respondent, Dounie T. A. M. Kern (“Mr. Kem"), by counsel, and
hereby files this motion to demand a jury trial as provided by Virginia Code’§ 24:2-237. In support
thereof, Mr. Kern states as follows:

1, Mr. Kern is a member of the Alleghany County School Béard (“School Board”),
having been appointed to that position by the Alleghany County Board-of Supervisors (Board of
Supervisors”) on July 1,2018, for a four-year term.

2. On December 2, 2020, the Board of Supervisors filed a petition to remove Mr. Kern
from office pursuant to Virginia Code § 24.2-234 (the “Petition”).

3. In the Petition, the Board of Supervisors advance a number of allegations against
Mr, Kern, all of which Mr. Kern intends to vigorously contest.

4, On December 3, 2020, this Court entered a Rule té Show Cause, réquiring as
follows: “It is therefore ordered that the Respondent appear in the Courthouse of thé Circuit Court
of Alleghany County, on Monday; December 14, 2020, at 3:00 p.ti.,'to show cause why he should

not be removed from office.”
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5. Virginia Code § 24.2-235 governs the procedure of petitions brought under Virginia
Code § 24.2-234, It provides: “Upon return of the rule duly executed, unless good cause is shown
for a continuance or postponement to a later day in the term, the case shall be tried on the day
named in the rule and take precedence over all other cases on the docket.”

6. Virginia Code § 24.2-237 further governs the procedure of petitiozis brought under
Virginia Code § 24.2-234, It provides, in pertinent part: “Any officer proceeded against shall have
the right to demand a trial by jury.”

7. Mr. Kern invokes his right under Virginia Code § 24,2-237 and demands.a trial by
jury with respect to the Petition.

8. Becatise a jury must be convened, good cause is showii for a continuance. or
postponement to a day later than December 14, 2020.

9. Mr. Kern therefore respectfully requests that this Court enter an Order granting Mr.
Kern’s demand for a jury trial and continuing trial in this matter to a later date for ajury trial.

10. Mr, Kern reserves his right to file to a file a written response to the Rule to Show
Cause.

For the reasons stated above, Mr. Kern respectfully requests that thisiCourt enter an Order
granting Mr. Kern’s demand for a jury trial and continuing trial in this matter to a later date.

Respectfully subthitted,

DONNIE T. A. M..KERN

 
    

By:. -- =f wee =
==SOF Couns

John P. Fishwick, Jr., Esquire (VSB #23285)

John.Fishwick@fishwickandassociates.com

Carrol M. Ching, Esquire (VSB # 68031)

Carrol.Ching @fishwickandassociates.com

Daniel J. Martin, Esquire (VSB #92387)
 

Case 7:21-cv-00471-TTC Document1 Filed 09/10/21 Page 108 of 146 Pageid#: 108

Daniel. Mattin@fishwickandassociates.com
ick. & Associates. PLC
30 Franklin: Road SWsStite 700
Roanoke,. Nirginia. 24011
(540). 345-5890 Telephone:
(540) 345-5789 Facsimile

  

Counsel for. Respondent

CERTIFICATE: OF SERVICE

 

cee hae

L, John P. Fishwicks, dt., do hereby’ certifythat, atrue’ cantivonesecopyatt thie: foregoing: was:

 

_sent-Via first-class and electronic: mail.to-

jin. Gay, dr.
Guynn; Waddell Carroll & Lockaby BC.
4158; College Avenue ° |
Salem, Virginia: aes

 

   

oni e 6 day ofbecenibes 2020.

 
 

 

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Respondent questioned the Honorable Judge Ed Stein’s involvement in judicating
the case. Judge Ed Stein prior to his term on the Alleghany County Circuit Court
which began on July 1 2019 was the Alleghany County Commonwealth Attorney.
Ed Stein in his role as a Commonwealth Attorney handled many cases involving
the Alleghany County Public Schools. In fact, in the fall of 2018 Eugene Kotulka,
Superintendent disclosed to school board members that he asked the
Commonwealth Attorney (Ed Stein) to investigate a child advocate and the family.
This family was Victoria Graybill, this fact was confirmed by Victoria Graybill

during the conversation on November 17 2018.

Prior to, Victoria Graybill filed an OCR complaint against Alleghany County
Public Schools, but subsequently dropped it due to a mediation agreement. This
investigation into Victoria Graybill years later that was prompted by Eugene
Kotulka, and with support by Ed Stein could be deemed retaliatory and a civil
rights violation. In anonymity the situation was described in the publication drafted

by the Respondent.

On January 27 2020, Respondent’s attorney sent correspondence questioning
Honorable Judge Ed Stein’s potential conflict in continuing as a judge. No

Response was provided to the Respondent. The letter to Ed Stein is below.
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John P. Fishiwick,; Ir Professionals ‘Arts Bididing
ae 30 Frenklia Road:
Telephone: $40.345.5890 Suite 700

 

Facsimile: 540.345.5789 ' Roandké,VA- 24011
joln fishwick@ fishwickandasocistes:com ‘Mailing Address:
www fishwickandassnciates.com P.O, Box 749

Roanoke, VA_24004
January 27, 2020

Hon. Edward K. Stein
Alleghany County Cireuit Court
266 West Main Street
Covington, VA 24426

Re: ‘Board of Supervisors of Alleghany County v: DontieT! A.M: ‘Kern
Cas¢ No.::CL20-827

Dear Judge Stein:

As you know, wé represent Donnie Kein in the above félére
the current Commonwealth’s Attorticy for. ‘Alleghany Couityy
prosecuting this case.on the basis that doing.so “vould constitiite
Alleghany County Commonwealih’s Attomey' s office.” Our ¢l
County: Schoo! Board imember, arid it is his understanding that-mait
Board have come beford:the Commonwealth's Attomey’s. office in:
inuke’ ‘an inquiry about w hether. of not.this presénis a conflict for yo:

hide or in your former position as Alleghany County Cominonw

alth’s. :
requesting guidance from you on the issue of'a possible conflict, and if yc ‘you agree ‘that's conflict
exists, how best to proceed'with this matter.

    
 

 

anced niilter,. JANG Gardner,
sectused herself’ m

   
 
  
 
   
 
  

With kind:regards, I remain
Very truly yours;
Fishwick'& Assogiates PLC

Jobn P. Fishwick, Ie.
Case 7:21-cv-00471-TTC Document 1 Filed 09/10/21 Page 111 of 146 Pageid#: 111

March 3 2020 a hearing was held to discuss the motion for Jim Guynn to be
appointed as special counsel to the Commonwealth of Virginia as mandated by
Virginia Code to carry out the petition filed by the Alleghany County Board of
Supervisors. To no avail by the Respondent and counsel Judge Ed Stein appointed
Jim Guynn as special counsel ignoring the statutory requirement that the Virginia

Code requires that only the Commonwealth Attorney carry out the petition.

March 11 2020 another hearing was held to discuss a subpoena sent by the
Respondent’s counsel requesting documents. It was indicated by Jim Guynn that
the Alleghany County Board of Supervisors would not be turning over any
documents because members of the Alleghany County Board of Supervisors
were not going to be testifying. Counsel (at the time) for the Respondent

indicated they should not have signed the petition under penalty of perjury.

Jacob Wright current Chairman for the Alleghany County School Board was up for
reappointment in June 2021. The Respondent in his capacity as a candidate for the
Alleghany County Board of Supervisors emailed members of the Board of
Supervisors along with the administrator and the clerk a letter regarding Jacob

Wright’s appointment via pdf. PDF of the letter below:

      
 

 

* Sercol Goarel Appeantinest AssMtance ee Fe

 

 

gn
Please sea e atcha Shou! Soon Arpiomantassuarcs | opi th wi anes you:
Dersia TAS Wem oF

24 :
Gadhtess Board of Siperdsoes #1 aes ForFery, For Yeu, oo
Caton Forge West Distict - : wd

  

 

 

 
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vev3,201° FOR COMMUNITY ‘@. FOR FAMILY @ FOR YOU:

Steve Bennett

Greg Dodd, Cifton Forge West District, incumbent
George. Mathew, Garten; Chairman

Cletus Nicely *

James Griffith, Vice: Chairman

Jaan Vannorsdali

Shannon Cox”

VIA: EMAIL.

Honorable Members of the Board of Supervisors,

i have heen encouraged ta ron far the Hoard of Sopervisars io represent the: Clifton Forge We ‘est District. 1 0 aid ary ‘enadidacy. J want
ta demonstrate to my coustituents Lan. wgoiing | ia work towards. ending all'acts, of  préjadice and. retaliation’ fowarits fidividuals whe
strive to be part of the self-governance process in oor great republic, Members of the Board of Supervisors you) have taken a keen
inferest in. my personal and public perforniance..as well us my ability te property Peprésnat the Clifton Farge West District as a mem-
ber of the Allcghany County Schoal Board.

Due to the opiatons atthe members of ‘the Beard af Supervisors, regarding my performance; the menibérs finve consequently and
callousty petitioned for me.to be: remaved, Since the members of the Board. of Supervisors have- ‘positioned. itself to monitor the pet
vate ani public ilves. of public officials, { oily fad it prudent’ that I'share ‘the following § infornianioa with a i

 

as it should sid you in
making your upcoming Schoo! Board appointment decising,- May 29 2021 vin the Virgistan Review i ibwas published you would be

making the school board appointment.on June I 2021. One appointment will be ta re-appoint Jacob Wright to represent the Boiling
Springs district ss a member of the Alleghany County School Hoard. |

Jacob Wright confided in me in July of 2018 in a conversation indicating that he created ai hostile work c environment that WAS 50 ex-

treme and “wild” 2s be described it vitimately leading ta- Keven Rice resigning. Jacob Wright states:

 

“We have to keep Keven.on.his

Nest We neéel to take

"the lead. | need toga |
' over quite a few things.
" with you to kind of get:
. , you.Up to speed. |
once, ri ght?: H ahaha | used to : appreciate ¢ all of-your

‘gu stions. tonight. 1

5

toes. You know I got him to resign

 

: ‘ha lotofthe samié

lets hin wild s hava ta ho ade. | 1 GREE: We have to keep:

drive him wild. We have to be ad- | Revenonhittees You |
i know} got him to

Le, . a. 2

amant about budget and finance” Harahe tusedto drive |

_ hiniwild. He have to’

. . . be ‘ademant about. a
Jacob Wr ight | ©: Budget andl fir inance., oe

 

  

 

 

 

Paid thd by Doralg Caen for dard pT Sagaretice’ss Foy Commune yg, Rae Fact Yor Yeo”
Case 7:21-cv-00471-TTC Document1 Filed 09/10/21 Page 113 0f 146 Pageid#: 113

FOR COMMUNITY @ FOR FAMILY, @ FoR You.
1s addition, Saceh Wright boasted with pride wheo he shared his triumphant feat in causing Keven Rive to resign with other
members of the School Board in Febragry of 2021. This occurred when Gerald Franson, Daniclic Morgan, Richard Shull, John

Liftketon, and I were aff awaiting to interview 2 Superintendent candidate for appointment,

I remind you that Jacob Wright on October 6 2020 during your regular meeting stated thet Keven Rice filed 4 complaint accus-
ing me of creating a hostile work enviranment. I would like to point out that Keyen Rice has never resigned (for 2 second time)
while I have been on the School Board.

Jacob Wright, confessed to mo that the School Board was going to chastise Eugene Kotolka, the former Superiotendent for his
treatment of me during the Octaber 2019 school board meeting. Jacob Wright states:

“And !| think someone is going to chastise Gene for how your situation was handied”

 

1 (Donnie Kern) responded: Jacob Wight

“An apology and a seat at the SEAC will an , for how pees going to Geastise fens

 

suffice, no chastising necessary [sic] 9734 AM
Me
An epology arid aseatatthe seacwat —
The School Board was going to retaliate against the school suffice, no chastising néssece aly |
superintendent Eugene Kotulka. J didn’t want that. No ane 9:39 AM
should be retalisted against.

 

Jseob Wright has contributed to the systemic violation of Schoo! Board policies. 1 will share three examples.

First-The Budget Committee appointment snafu that we discussed on Octaber 27 2021 during my six-hour interrogation. School
Beard policy requires that the budget committee be appointed in July at the re-organization meeting. During the July NI20 meet-
ing this appointment was not made. Jucob Wright attempted to appoint the committe: in December 2026, on the exact dav that f
would be removed from office due to the petition members of the Board of Sopervisors filed, however I sought to have a trial by
jury foiling this plat. Why didn’t Jacob Wright mxke any effort or attempt te appoint the Budget Committze on Angust, Septem-
ber, Oetober or November? I sent an email advising my peers on the School Board that by making the sppointment in December
the School Beard would be violating the policy 2 second time, because the policy requires us to make the appointment in July
during the rearganizatien mecting, We had to revise a policy that has been in good standing for many years to correct faceb

Wright's snafu.

‘Paid  acibusieedd by Bonnls Xan for Baar al Suparsaat st Fu Caatraeety, Kou Turvy, Fos Yew
 

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Bladpen Cometic, . % “he nt Ltt ®
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Piayr’ “movement ‘which focused on on having eur students refurn'te sports + safely cing the pandemic. I tase meio apport
ved cur. student's ability to-returo ta tosports | 1 believe: my menor for apr awhile a member. of the School Board botnet tlear a apa

   

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ae

Wrigti’s excessive ‘authority silesiced’ ihoir. yoices.:

‘The ii miacssage sent by Sherman’ Caitagha on: behalf’ if dacbb was siating:
“We are tooking at an hour afid-a half at teat to re

comments. Poltc KD: ernie ciaimani-esta:

  

“reasofable time-limit™ for cominents. I have: Spl Ken wi
Jacob and. he’ is going, to make a. statement: that Kemails:.

have been received in'support of athletics but will not be,

 

 
 

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BusliCt RASTICIATION AT SstHaa. Boano REETINGS:

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poses: the Board en maligey related in ie Alecoay County Punic Senogts st any
neck as provided in tay aocampatying teguiation., Parnes -witting tn dddiess tha ty : = ; .
posrd ge requocied te toniact tue cugéilendant, te ‘Seheet Esecd thoi of thee’ # ii
He aizcenten! am thd geet. ‘Spans to riy peers: iiters -onr nigtting encouraging them tn.

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tnentation.. te citd-esl be alte ved to matin duidtondl pitiehlatene unlit pfervore whe Widhet’

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egilir aibeting ter eemnneniity iedertues ts preven! Gatien oF cawen.

 
  
 
 
 
   

 

 

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"| féel that theré.are a lot of disgruntied individuals because:we failed 6 allaw them to

share how they are feeli ng.,Putting the emails, into'the minutés-is not w 2

 
  

 

als wanted. They wanted to be heard. We failed them as a board. 1 feels tré

need. to 9°. back to. in-person meetings...We should not view people’ $ point-of- view. as an

Tk Pe ha rae

attack but'an opportinity to ‘improve how we do things: We ‘shisidd ni puta time re-

 

striction on our families. We signed up for this.” Donnie.T.A.M: Kern,

 

RE: 09 be shared Wilh OGanl members. ° “

Keri, Donnie

8s ‘Bia Lise: ALPS tstinnd Badd?

a" Erletge Baeeas

wa Soros. _ Eipore sae, peed -

 

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gers y,

thank: syou-for-sharing, (z) sould -alsa ike 3 to, ear cy any ‘filings “Peat see bt
thot thard are @ lot of dingruhtled individuals Gutgusd-uo.fatls shard
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fwand. me Folle| Lites da. deat. 2 feel ot ay Ea 1 eater
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FOR COMMUNITY @ FOR. FAMILY. @ FOR You

Third-The return of $300,000 of approximately $1.4 million dollars to the Alleghany County Board of Supervisors. As I recall,
August 2020 the Schoo! Board was presented with sn information item (pictured) to consider 2 request by the Board of Supersi-
sors to return $500,000 of $1.4 million (approximate) of unspent funds by the school division. According to Eagene Kotulks during

a private conversation this amount could be up to $1,000,000 that would be returaed fo the Board of Supervisors.

The information item natifying the School Board of your request te have the funds returned stated the following “Leadership

Committee...met during the FY¥2021 budget process”. The Scheel Board docs not have a leadership cammitice

and the School Board bas never appointed a leadership committee. The anly policy mandated committee is the Budget Committee

and Governance Committee. Governance deals with policies of the Schoo! Division, not Leadership.

Who is on the Leadership Committee? When did this appointment take place? When did this Leadership Commitee meeting take
plsce? Did you tavite the public to attend this meeting? The Freedom of Inforrantion Act requires meetings of this uature to be
open to the public and for the public to be informed of the mecting. As a member of the school board, 1 do not recall ever inthe
past three years having heard of the Leadership

 

SUBJEGT | Return ef Funds to Alteghany ¢ couaty
Committee. RATIONALE

|
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:

 

The Jeagacship commibess of the County of Abeghany and
‘tha A®eghany County Schoa! Board inal dunng the FY202 1
budge! process Lo discuss ite fatal tending tos for
Fyzsat, itwas deciled by wh commikees that tne school
board wauld relom tite county $820,000.00 In fund
balince (FYZ0ed year-end operating bafence of, f thal wes
Insuffeghent, trom cemiiniwe dard datanee) in teu of the
eesinty’ reducing fis acad FY E021 appreariation te ihe
seheool board by int equiaiant amount. The Juty 1, 200)
mverwarandit on Year-End Gperaling Sainnoe Sdenuray
faftaets hee $500,000.00 abtigatian Io be paid tram ine
FYRI20: operating balance. This wil be an action tem far
the September 21, 2020 shea! board meeting.

How can our community partake in self
-govemance if the public is denied ac-
cess to these meetings and discus-

sions?

 

ESTIMATED COSTS tio 009. on

 

. | BUDGET CAlEGoRY “Pred Gataines
fn conclusion, I alsa know you are keen ov expenses

 

 

 

 

 

LEGAL REFERENGE wA
that are caused by Schoo! Board members. Jacoh |
STAFF GONTAGTS Keven Rice
Wright initiated and negotiated s settlement by and SDINMISTHATORS
between an employee of our school division. I | RECOMMENDATION

 

 

 

 

 

brought this to your attention October 6 2020, I will
remind you once mare. The approximate cost of this settlement is around $50,000 to taxpayers which does aot include the legal
fees associated with drafting and commencing it. Please review the three pertinent clauses. from this settlement (below)/(next
page).
Case 7:21-cv-00471-TTC Document’ Filed 09/10/21 Page 117 of 146 Pageid#: 117

FOR COMMUNITY @ FOR FAMILY @ FoR You

 

 

Bon-D ement. The parties agree not to disparage, criticize, or speak negatively:
of the other, This Agreensent is entered into in. gocd will for the mutual beriefit of the parties, |
and the and the Board agree to-treat all communications with each other and with
the public-in that positive light. Other than official action required by state law, the: parties agree |
that ihe only public statement to be issued by either party will conform to the statement attached
hereto as Exhibit B.

“wd. Confidentiality. cs and agrees thatBvill keep the
terms, coRdijjons, covenants, and existence of this Agreement strictly confidential, and will not
disclose, or cailhedp be disclosed, any information concerning this Agreement that is not made.
generally available totha,p: ublic as required by jaw to any person except fmmediate fanily
members; legal counsel, and*negguniant, and then:only after such persons have. agreed not to
disclose any facts concenting he settlement, further agrees notto disclose,
of cause to be disclosed, any information concerning this Agreement to. any media: publishing
entity, Notwithstanding the foregoing, EMEP obligation of confidentiality shall
not extend.to any disclosure mandated by law, order by a court of competent jurisdiction,

5. | a i recogrizes that, because a! mn
position with the Board, it is ‘inportant that the Board's employees and the - public pi 4
ME is 8 mutually desirable and positive event, This Agréement.is entered into in good
will forthe mutual benefit of the parties, and the ME agrees: totreatall
communications with the Beard and-with the public in that positive light. From the effective
date of the Agreement until 5:00 p 7, [I onrees 10
cooperate with the Board to.resalve pending litigation or state and federal complaints arising
during the BERR employment about which thc BE knowledge. The |
Board agrees to announce publicly only that the set forth m Exhibit
B. The Board will make no other statements regarding the end of ;
except as set forth herein.

   
  

 

   

  
  

 

 

  
 

 

    
 

 

 

lrefased to sign this agreement while all other members on the School Beard approved. Please explain why the employees of the
school division and public should perecive that this employee’s retirement is mutually desirable and 2 positive event? Why not

jost bold the individual accauntahie, terminate employment and save $50,0007

Piease explain why the agreement requires that cack party will oot disparape, criticize, ar speak negatively of the other? If our
School Hoard did so many positive things why should the School Board fe afraid of what this employer would have to say about
merabers of the Schaol Board?

Make no mistake, § offer this information as it pertains to the governmental affsirs of our school! division and that of the Board of
Supervisors as a political candidate. Asa fulfillment of my campaign promise, | share this information to prevent any future re-
taliation or prejudice against these wha contribute to eur great republic of seli-governauce. My canstituents of the Clifton Forge

Wost District want te know; will you re-appoint Jacob Wright? Will you petition him to have him removed from office?

 

their civil rights [Free ch, Doe Process, sic}. Sovereign immunity is no defense***
Case 7:21-cv-00471-TTC Document1 Filed 09/10/21 Page 118 0f 146 Pageid#: 118

Greg Dodd my Ciifton Forge West District representative, your words can inspire, and your actions speak for themselyes, You

make the choice ta speak or remain silent. Let me catch you up ta speed. In 2018, an employee came to me with a student com-

plaint seeking an ativarate. I chose to advocate for the child's civil rights (below left}. ( sent this complaint tn the School Division.

 

 

From:

he
Sect, EE 2615 7 35 Pia
Ta Dorrie Keen

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OF Shs bt5s fut aoe of ths Geeld bo Pappening wire noi Aidan Amecican, ppmecith raady 19
adustate for the stahan

 

   

They choose aot to investigate untilthey had more infor-
mation (below right).

 

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kutetlp tunes apes Headley Reghemas Rarely atopy |

"segarsed Bette J a: nan pa,
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Meter — - -

  

Gocd ayening.

Thanks you tae seen t the information bela, may

 
 

Ag pour

 

corveniancd, Please provide the necessary int Formanan to begin the

 

 

 

RS «6528.92

Tor Valedtamie ied sec
fir. Kam,
CPS recewad your complain! feqsidiny a siudert Ld

 

Rei at (ba aM

 

 

 

 

| investigation.

Pawards,

 

 

 

 

I sent the complaint to Child Protective Services (CPS) they investigated-
(ieft}. In fact, the issue was so bad, that a very famous outside advocaie

got invalved: Amy Trail. This is what she said:

“| know Dr. Haath herself had a meeting with the Superintendent on Tuasday morming and another one

this morning before shoe talked to me. So, !am sure. You know here is an idea, don't do it. | mean that sin-

cerely.

you might want to fix that. | do not want to come down to that school and find out that he is still in a closet

 

somewhere. And | said it just like that. Because there is way more going on...” -Amy Trail

July of 2020 this situation was discussed by the School Board for the first time. Jacob Wright
heard the audio. Members af the Hoard of Supervisors in their petition under the penalty of per-
jury said | admitted that | failed to determine the validity of the situation. Obviously based on
what I just presented this is false. Read the transcript from October 27%. | never made this

admission. Ina recent court hearing it was stated that the members of the Board of Supervisors

will not testify, IT remind you, you represent me top.

Donnie TAM. Kern

 

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that Airy Trail? Testing |
about smacking.
people? Sha dewsvt
Souted ety

€) | professishal.

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Political Candidate for the Clifton Forge West District Board af Supervisors: For Community, For Family, For You

115 Church Street

Clifton Forge, VA 24422
wyew.donnietantkenn.com
votedtamk@ yahoo.com
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On August 10 2021 the Respondent filed a motion for continuance which was

granted on August 12 2021 by the Honorable Judge Ed Stein.

Motion for continuance is a fifty-two-page motion submitted by the Respondent
Pro Se with numerous details on why continuance was required by the Respondent.
The Respondent was told the recorded audio of Amy Trail statements would not be
admitted into evidence, then subsequently on August 5 2021 Amy Trail was not

deposed. Amy Trail was the Respondent’s star witness.

On August 12 2021 a hearing was set at 2:00PM. The following participants were
John Fishwick, Daniel Martin, Patrick Jensen, Jim Guynn, the Respondent, and the

Honorable Judge Ed Stein.

Honorable Judge Ed Stein asked what the Commonwealth’s position was on the

motion for continuance

Patrick Jensen:

“*... There has been a lot of issues of in-discovery, and that has been
receiving discovery from Mr. Kern we have been working, I think extremely
well with Mr. Fishwick and his firm. In reading that 52-page motion to
continue uh, in there, Mr. Kern concedes that he has never provided any
documents to his attorney Mr. Fishwick. Thus, they have never been turned

over to us.”
 

 

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“..50, I guess the position of the Commonwealth is, when we file that
motion we probably won’t object to a continuance if the court hears that

motion to suspend Mr. Kern and he is in fact suspended from office”

“...Honestly Judge our ability to properly prepare for this trial has been
hampered by Mr. Kern’s actions”

Jim Guynn:
“T would only add that I think it’s awfully late in the game. and I am very
concerned about gamesmanship in this situation. This is a very serious
matter. If it turns out that we are correct. Then it is delaying what needs to
be done. You do not get to seek a continuance two weeks before trial and
keep your position until a jury tells you to go back or not.”

Donnie T.A.M. Kern:
“When we went through the initial discovery process, I wasn’t 100% sure
what the deadline was so from my understanding we had finished the request
for admissions, and the interrogatories that were requested and from my
understanding those were turned over already. I do not know if Mr. Fishwisk
has done that. J did find Mr. Fishwick also some of the items including
complaints that were supposed to have been furnished. I don’t know if those
have been furnished...again it’s very convoluted if you look at my schedule

for me to go through three different email accounts maybe four and three
 

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years of information. I am trying to abide by what they are wanting to have
so I don’t think there is any part on mine to purposely and in any way
intentionally deny them what they are wanting. Do I disagree whether or not
they should get it I was hoping to have a really phenomenal attorney to help

make those objections but”

Honorable Judge Ed Stein:

“Here is what I am going to do gentleman. Cause I do not want Mr. Kern, I
don’t think it is reasonable to suggest he is going to get a new lawyer and be
ready for trial in two weeks. I understand the Commonwealth’s position but
I really don’t want to put off a motion to continue because we need to start
summoning the jury. So, I am going to. go ahead and let Mr. Fishwick out. I
am going to grant the motion to continue. Everyone should be available the
twenty fifth of August right?...That’s what we are going to do Mr. Kern that
was the day your trial is going to start, I am going to continue your trial and
I will hear the Commonwealths motion that they say they are going to file
with regard to suspension or any other issues on the twenty-fifth of August
9:00AM the first day that would have been your trial, you going to have

counsel by then that is fine, if you don’t have counsel we probably do it

anyway”
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In retaliation the Commonwealth stated it would file a motion to suspend the
Respondent which the Commonwealth did on August 13 2021. As opined by Jim
Guynn on August 12 2021:
Jim Guynn

“You do not get to seek a continuance two weeks before trial and keep

your position until a jury tells you to go back or not.”

Patrick Jensen:

“T guess the position of the Commonwealth is, when we file that motion, we
probably won’t object to a continuance if the court hears that motion to

suspend Mr. Kern and he is in fact suspended from office”

On August 13 2021 a motion to suspend the Respondent was filed by the

Commonwealth of Virginia.
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VII. CLAIM(S)-FEDERAL SUBJECT MATTER 28 U.S.C. under §1331

§1441, and §1443

The Alleghany County Board of Supervisors (herein after The Board) under the
“color of law” in filing a petition under §24.2-234 alleged allegations against the

Respondent because the Respondent took action that constituted

For neglect of duty, misuse of office, or incompetence in the performance of
duties when that neglect of duty, misuse of office, or incompetence in the
performance of duties has a material adverse effect upon the conduct of the

office;

Under Virginia Code §24.2-233. The actions of the Respondent were actions
afforded under the Constitution, laws, and treaties of the United States including
Section 504 of the Rehabilitation Act, Title VI of the Civil Rights Act of 1964,
U.S. Constitution Amendment 1, U.S. Constitution Amendment VIII, U.S.
Constitution Amendment XIV, 42 U.S.C. §1983 & §1985 which are all considered
federal subject matter jurisdiction that raise federal questions under 28 U.S.C

§1331, §1441, and §1443
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Respondent reminds the court:

“Plaintiffs properly pleaded complaint governs the jurisdiction inquiry. If, on
its face, the plaintiff's complaint raises no issue of federal law, federal
question jurisdiction is lacking” (Hart v. Bayer Corp., 199 F.3d 239, 243)

(5 Cir. 2000)

Furthermore, in Louisville & Nashville v. Mottley, 211 U.S. 149 (1908) the U.S.

Supreme court opined:

“a suit arises under the Constitution and laws of the United States only when
the plaintiffs statement of his own cause of action shows that it is based

upon those laws”

Allegation #2 of the petition.

2. On several occasions aficr he assunied office as‘a’Schoo] board member; Keri Has!

referred to special needs students as-“retards.’*-

The face of the petition under allegation #2 clearly in its description: “Kem has
referred to special needs students as ‘retards’” using quotes in relation to spoken
word. The Board under “color of law” is retaliating against the Respondent and the
cause of action based on the Respondent having exercised U.S. Constitution.
Amendment. I specific to speech, redress, and assembly. The respondent under

oath testified on October 27 2020 that the respondent did not recall saying this

word in discussion with a child advocate in seeking help for the respondent’s child
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specific to special education. The Board still sought removal via the petition which

violated the respondent’s equal protection rights under U.S. Constitution.
Amendment. XIV, and 42 U.S.C. §1983 and §1985 as The Board did not seek
removal of Jacob L Wright, member of the School Board for public swearing and
intoxication in 2018 which could also be considered neglect of duty, misuse of

office, or incompetence in the performance of duties.

Alleghany General District Court

 

 

Case 2: GCIT007641-00 Defendant WRIGHT, JACOB LACY
Defendant information . - _ wee ce . a ~

 

Address ¢ COVINGTON, VA 24426 |

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Attomey:

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case/Charge information oo _. ~~ a : oe oe - es
Defendant Status RELEASED ON RECOGNZANCE__ vo ee. _ fled Date: 12/2017 Locality: COMMONWEALTH OF VA
Code Section 18.2:308: . we ve "Charge: PUBLIC SWEARINGANIOGMCATION. TEE ee
Cose Type; MISDEMEANOR _ . ee oe eee . _ Class CLASS 4 -e ol Le . wenn me eee .
OHense Date: 12/242014 ae eee eee J arest Date oe ee oe Complainant PIERCE, JOHN: _
Amended fete Section, ae eee, Amended Charge:

Amended Case Type, oe Oem ” Rimended Casa 7

scaltatormation ee — a 7 _

Appeal Date:

Hearing information ee! a a ne

Ose Time Result Type
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_ Fine/Costs Paid: YES- ce nme ee eee deen eet eee ete pepe sem on en un vee reine. F enw eee om name _._ fine/Costs Paid Date: 0! bifTe018 .

 

 

* This system cannot process onfine payments at this time. Bloase refer to" How! to Pay Tati Tickets, and Other Offenses "for more information.
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Petition Allegation #3

3. On several occasions Kéra has falsély: stated tat'sehool offiGial# locked a special
needs student in a-closet and that the student later brought présents to Win favor With special,

education personnel at his school.

The face of the petition under allegation #3 states: “.....Kern has falsely stated that
school officials locked a special needs student in a closet....’”. The Board’s
allegation uses the word “stated” which is indicative of speech. The Board under
“color of law” is retaliating against the Respondent and the cause of action was the
Respondent having exercised U.S. Constitution. Amendment. I specific to speech,
redress, and assembly in which the respondent published an editorial describing his
experience in an effort to redress and assemble using a statement that was made by
Amy Trail. The respondent didn’t make the statement, Amy Trail made the
statement, the statement was used to describe the respondent’s experience. The
respondent is not aware of the use of the word “locked”. In addition, this is
violation of U.S. Constitution. Amendment. I. specific to censorship. The Board
still sought removal via the petition which also violated the respondent’s equal
protection rights under U.S. Constitution Amendment XIV, 42 U.S.C. §1983 and
§1985 as The Board did not seek removal of Randy Tucker for School Board
Chairman or any other school board member whereas on February 25 2019 Randy

Tucker during a public-school board meeting with support by members of the
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school board shared a statement that was made by Amy Trail which was false. This

statement 1s located in section VI. Background.

Petition Allegation #4

“4, “Most recently, Kern made the false statement about locking:a specialinéeds
student in a closct.in an advertisement he placed in The Virginian Review. “Kerivhas admitted:

that he made no effort to détermine the truth or falsity of the stiteinent prior to publishing it.

The face of the petition under allegation #4 states: “.....Kern made the false
statement about locking a special needs student in a closet in an advertisement he
placed in the Virginian Review. Kem has admitted that he made no effort to
determine the truth or falsity of the statement prior to publishing it”. The Board’s
allegation uses the phrase “made the false statement...in an advertisement he
placed in the Virginian Review” which is indicative of speech and a written form
of expression. The Board under “color of law” is retaliating against the Respondent
and the cause of action due to the Respondent having exercised U.S. Constitution.
Amendment. I. specific to speech, redress, and assembly in which the Respondent
published an editorial describing his experience in an effort to redress and
assemble using a statement that was made by Amy Trail. The respondent didn’t
make the statement, Amy Trail made the statement, the statement was used by the

Respondent to describe the Respondent’s experience. The Respondent is not aware
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of the use of the word “locking” having been used. In addition, this is violation of
U.S. Constitution. Amendment. I. specific to censorship. The Board still sought
removal via the petition which also violated the Respondent’s equal protection
rights under U.S. Constitution Amendment XTV, 42 U.S.C. §1983 and §1985 as
The Board did not seek removal of Randy Tucker or any other school board
member whereas on February 25 2019 Randy Tucker during a public-school board
meeting with support by members of the school board shared a statement that made
by Amy Trail which was false. This statement is located in section VI Background.
In addition, the allegation in the petition specific to “Kern has admitted that he
made no effort to determine the truth or falsity of the statement prior to publishing
it” is false and The Board knew that it was false which gives rise to the
commission of perjury as it was explicitly explained on October 27 2020 what the
Respondent did to seek the truth giving rise to The Board’s action under “color of
law”. In addition, further causes of action are associated with the Respondent
attempting to seek redress and stifle discriminatory practices under Section 504 of

the Rehabilitation Act, Title VI of the Civil Rights Act of 1964.

 
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Petition Allegation #5

5. Tnpublishing the story about the'special education stiident who was allegedly

 

locked in a closet; Kem exhibited a'reekless disregard-for the falsity of the statemientind:

defamed the director of special education for Alleghany County: Public Schools and other school -
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émployees. tet

The face of the petition under allegation #5 states: “In publishing the story about
the special education student who was allegedly lock in a closet...defamed the
director of special education for Alleghany County Public Schools...”. The
Board’s allegation uses the phrases “published”, “story”, “special education
student”, “defamation”, director of special education”, “Alleghany County Public
Schools which is indicative of speech and written form of expression. The Board
under “color of law” is retaliating against the Respondent and the cause of action
due to the Respondent having exercised U.S. Constitution. Amendment. I. specific
to speech, redress, and assembly in which the respondent published an editorial
describing his experience in an effort to redress issues related to the scholastic
conditions within the school division as it pertains to individuals with disabilities.
Amy Trail made the statement regarding the condition of the student, the statement
was used to describe the respondent’s experience as well as anonymity and
protection of the student which counsel for The Board agreed with its use. The

respondent is not aware of the use of the word “locked”. In addition, this is
 

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violation of U.S. Constitution. Amendment. I. specific to censorship. The Board
still sought removal via the petition which also violated the respondent’s equal
protection rights under U.S. Constitution Amendment XIV, 42 U.S.C. §1983 and
§1985 as The Board did not seek removal of Randy Tucker or any other school
board member whereas on February 25 2019 Randy Tucker during a public-school
board meeting with support by members of the school board shared a statement
that was made by Amy Trail which was false defaming the Respondent. This
statement is located in section VI Background. In addition, the allegation in the
petition specific to “Kern reckless disregard for the falsity of the statement” is false
and The Board knew that it was false giving rise to the commission of perjury as it
was explicitly explained by the Respondent on October 27 2020 what the
Respondent did to seek the truth in the situation giving rise to The Board’s action
was under the “color of law’. In addition, further causes of action are associated
with the Respondent attempting to seek redress and stifle discriminatory practices
under Section 504 of the Rehabilitation Act, Title VI of the Civil Rights Act of

1964.
In addition:

New York Times Co. v. Sullivan, 376 U.S. 254 (1964) as opined by the United

States Supreme Court denying damages to a public official for defamation:

 
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Those who won our independence believed that public discussion is a political
duty; and that this should be a fundamental principle of the American
government. They recognized the risks to which all human institutions are
subject. But they knew that order cannot be secured merely through fear of
punishment for its infraction; that it is hazardous to discourage thought, hope
and imagination; that fear breeds repression; that repression breeds hate; that
hate menaces stable government; that the path of safety lies in the opportunity
to discuss freely supposed grievances and proposed remedies; and that the
fitting remedy for evil counsels is good ones. Believing in the power of reason
as applied through public discussion, they eschewed silence coerced by law—
the argument of force in its worst form. Recognizing the occasional tyrannies of
governing majorities, they amended the Constitution so that free speech and

assembly should be guaranteed

Thus we consider this case against the background of a profound national
commitment to the principle that debate on public issues should be
uninhibited, robust, and wide-open, and that it may well include vehement,
caustic, and sometimes unpleasantly sharp attacks on government and

public officials

In the realm of religious faith, and in that of political belief, sharp differences

arise. In both fields the tenets of one man may seem the rankest error to his
 

 

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neighbor. To persuade others to his own point of view, the pleader, as we know,
at times, resorts to exaggeration, to vilification of men who have been, or are,
prominent in church or state, and even to false statement. But the people of this
nation have ordained in the light of history, that, in spite of the probability of
excesses and abuses, these liberties are, in the long view, essential to

enlightened opinion and right conduct on the part of the citizens of a democracy

That erroneous statement is inevitable in free debate, and that it must be
protected if the freedoms of expression are to have the ‘breathing space' that
they ‘need to survive

Petition Allegation #6

6. Since his njointmesi the Setioo board, Keri is enBeBa in behuViod to

schoal division siaff and adtiinistration that prompted a mictiiberof the séliodl administiation

 

File a complaint of a hostile work environment as-‘aresult of Kern’s actions:

The face of the petition under allegation #6 states: “Kern has engaged in behavior
toward schoo] division staff...school administration to file a complaint of hostile
work environment as a result of Kern’s actions”. The Board’s allegation uses the
phrase “Kern’s actions”. The Respondent’s actions The Board petitions for
removal is specific to filing a report with state officials as indicated in a letter that
was drafted by Eugene Kotulka, Superintendent of Alleghany County Public

Schools. The report the Respondent sent to state officials highlighted deficiencies
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within the school division specific to discrimination against individuals with
disabilities. The Board under “color of law” is retaliating against the Respondent
and the cause of actions due to the Respondent and the cause of action due to the
Respondent having exercised U.S. Constitution. Amendment. I. specific to speech,
redress, and assembly and the application of protections under Section 504 of the
Rehabilitation Act, Title VI of the Civil Rights Act of 1964 in which the
respondent filed a report with state officials in an effort to stifle discriminatory
practices. The Board still sought removal via the petition which also violated the
respondent’s equal protection rights under U.S. Constitution Amendment XTV, 42
U.S.C. §1983 and §1985 as The Board did not seek removal of Jacob Wright who
on October 6 2020 alleged complaints against the Respondent during a public
meeting with the Board of Supervisors. The Board was made aware that Jacob
Wright admitted to “driving” a staff member wild causing the staff member to
resign which is indicative of creating a hostile work environment. Jacob Wright

was not asked to resign or petitioned to be removed.
Petition Allegation #7

7, Pursuant to policy, the school board retairied a thifd party to. investigate the hostile

work environment allegation.
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Respondent filed a complaint against Eugene Kotulka, Superintendent in
November of 2018. Eugene Kotulka was the Superintendent of Alleghany County
Public Schools at the time. The same and equal complaint process was not afforded
to the Respondent in November 2018 that was used against the Respondent in this
allegation. The Board still sought removal via the petition which violated the
Respondent’s equal protection rights under U.S. Constitution Amendment XIV, 42
U.S.C. §1983 and §1985. This allegation is connected to Allegation #6 and The
Board in its cause of action in filing a petition was based on the Respondent having
exercises protections and rights under Section 504 of the Rehabilitation Act, Title
VI of the Civil Rights Act of 1964, U.S. Constitution Amendment 1, U.S.
Constitution Amendment XIV, 42 U.S.C. §1983 & §1985. In addition, this

allegation is demurrer,

Petition Allegation #8

8. Kern refused to participate in the investigation‘even though it was mandated by
school board policy, oe fon
The respondent was given a choice to participate, participation was not required.
The respondent requested copies of the complaints and all accompanying
documents related to the complaints prior to meeting with the investigator. The
respondent wanted to cooperate with the investigation but was denied full access to

cooperating. Respondent was told the complaints and accompanying documents
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would be furnished at the conclusion of the investigation. These complaints and
accompanying documents have yet to be furnished. This allegation is in response to
Allegation #6 therefore the cause of action in which The Board seeking to remove
the Respondent for exercising protections under Section 504 of the Rehabilitation

Act, Title VI of the Civil Rights Act of 1964, U.S. Constitution Amendment 1.

In addition, it was made known to The Board on October 6 2020 and on June 1
2021 that other school board members have not followed policies, yet The Board
has not asked these school board members to resign or nor did The Board petition
them for removal. This is a violation of the Respondent’s equal protection under

the law U.S. Constitution. Amendment. XIV, 42 U.S.C. §1983 and §1985.

Petition Allegation #9
9. ‘The third party neutral found that Kem indeed created’ hostile work environment

for ihe administrator.
This allegation is in reference to Allegation #6. The respondent was never
provided the complaints alleging a hostile work environment. Respondent’s full
participation in the investigation could not occur. Respondent contests that the
third-party neutral was not third-party neutral. Respondent filed a complaint
against Eugene Kotulka, Superintendent for Alleghany County Public Schools in
November of 2018. Eugene Kotulka’s involvement with the complaint against the

respondent was a conflict of interest. The third-party investigator had ties to the
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Virginia Department of Education and public education system. The same and
equal complaint process was not afforded to the respondent in November 2018
therefore the cause of action for The Board to seek removal of the Respondent is
from the Respondent exercising protections under Section 504 of the
Rehabilitation Act, Title VI of the Civil Rights Act of 1964, U.S. Constitution

Amendment 1.

In addition, it was made known to The Board on June 1 2021 that Jacob Wright
admitted to “driving” a staff member wild causing them to resign which is
indicative of creating a hostile work environment. Jacob Wright was not asked to
resign or petitioned to be removed. This is a violation of the Respondent’s equal
protection under the law U.S. Constitution. Amendment. XIV, 42 U.S.C. §1983 &

§1985.

Petition Allegation #10
10. Kem’s actions sinte tie Board of Supervisors appointed hit to the schodl board.
constitute a vendetta facled by Kim's belief tint the school syteih id sémietiow anistbeated his
. dhild‘or children. -
The face of the petition under allegation #10 which references also Allegation #6
states: “Kern’s actions...constitute a vendetta fueled by Kern’s belief that the

school system has somehow mistreated his child, or children”. The Board’s

allegation uses the phrase “Kern’s actions”, “Kern’s belief’. The Respondent’s
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“actions”, and “belief” were the cause of action for The Board to petition the
Respondent for removal consist of the Respondent filing a report with state
officials and the United Stated Department of Education Office of Civil Rights ti
stifle discriminatory practices which are protected under Section 504 of the
Rehabilitation Act, Title VI of the Civil Rights Act of 1964. The Respondent’s
“belief” is a protected right under the constitution. The Board under “color of law”
is retaliating against the Respondent and the cause of action due to the Respondent
having exercised U.S. Constitution. Amendment. I. specific to speech, redress, and
assembly in which the respondent filed a report with state officials and the United
States Department of Education. The Board still sought removal via the petition
which also violated the respondent’s equal protection rights under U.S.
Constitution Amendment XIV, 42 U.S.C. §1983 and §1985 as The Board did not
seek removal of Jacob Wright, who on October 6 2020 alleged complaints against
the Respondent during a public meeting with the Board of Supervisors or other

members of the Schoo] Board that have alleged public complaints against the

Respondent.

 
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Petition Allegation #11
Tl. Kem Kas made ‘false and baseless complaints of illegalitics:arid cornuption at -
“Alleghany County Public Schools that have disrupted the work of the'school' administration aiid:

cost the schoo! division thousands of dollars in legal fees that were otherwise uiiecessarys
The face of the petition under allegation #11 which references also Allegation #6
states: “Kern has made false and baseless complaints...at Alleghany County Public
Schools...and cost the school division thousands of dollars in legal fees that were
otherwise unnecessary”. The Board’s allegation uses the phrase “Kern has made
false and baseless complaints...at Alleghany County Public Schools” and “Costs
the school division thousands of dollars in legal fees”. The Board petition for
removal of the Respondent is associated with the cause of action in which the
Respondent filed a report with state officials and the United Stated Department of
Education Office of Civil Rights. The Board under “color of law” is retaliating
against the Respondent having exercised U.S. Constitution. Amendment. I, specific
to speech, redress, and assembly and the application of protections of Section 504
of the Rehabilitation Act, Title VI of the Civil Rights Act of 1964, 42 U.S.C.

§1983 & §1985.

The Board still sought removal via the petition which also violated the
respondent’s equal protection rights under U.S. Constitution Amendment XIV, 42
ULS.C. §1983 & §1985 as The Board did not seek removal of Jacob Wright, who

on October 6 2020 alleged complaints against the Respondent during a public
 

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meeting with the Board of Supervisors or other members of the School Board
that have alleged public complaints against the Respondent. Jacob Wright and
other members of the school board have created thousands in legal fees due to
neglect of duty, misuse of office, or incompetence which The Board was made
aware of but these individuals have not been asked to resign or petitioned to be

removed.

Petition Allegation #12

. ; PE Be ° a
12, Kemts actions constitute neglect of duty, misuse of office, and incompetence in :

the-petformance of his duties.

The face of the petition under allegation #12 states: “Kem’s actions constitute
neglect of duty, misuse of office, and incompetence...”. The Respondent has
provided The Board significant accounts of other school board members being
neglectful, misusing of the office, and incompetence on October 6 2020, October
27 2021, and June 1 2021 and these members have yet to be petitioned or asked for
their resignations which constitutes a violation under equal protection of the law
U.S. Constitution. Amendment XIV, 42 U.S.C. §1983 & §1985. The cause of

action for The Board to petition the Respondent’s removal is related to petition

allegations 2-11.
 

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Petition Allegation #13 of the petition is demurrer/false.

13. Kem’sneglect-of dity, mistse of office, arid incompetence in the performance of
‘ his duties have had's material'adverse effect upon the conduct of the'schoal board:

The face of the petition under allegation #13 states: “Kern’s actions constitute
neglect of duty, misuse of office, and incompetence...have had a material adverse
effect upon the conduct of the school board”. The respondent has provided The
Board significant accounts of other school board members being neglectful,
misusing of the office, and incompetence which have created a material adverse
effect upon the conduct of the school board on October 6 2020, October 27 2021,
and June 1 2021 and these members have yet to be petitioned to be removed or
asked for their resignations which constitutes a violation under equal protection of
the law U.S. Constitution. Amendment XIV, 42 U.S.C. §1983 & §1985. The cause
of action for The Board to petition the Respondent’s removal is related to petition

allegations 2-11.
Motion to Suspend-Retaliation

Commonwealth of Virginia as Petitioner for the Alleghany County Board of
Supervisors in filing a motion on August 13 2021 under Virginia Code §24.2-236
which was filed in villainous retaliation violated Section 504 of the Rehabilitation

Act, Title VI of the Civil Rights Act of 1964, U.S. Constitution Amendment 1,
 

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U.S. Constitution V, U.S. Constitution Amendment VIII, U.S. Constitution

Amendment XIV, 42, U.S.C. §1983 & §1985:

On August 12 2021 approximately around 2:00PM. As opined during a hearing
called by the Alleghany County Circuit Court by
Jim Guynn
“You do not get to seek a continuance two weeks before trial and keep
your position until a jury tells you to go back or not.”

and

Patrick Jensen:

“T guess the position of the Commonwealth is, when we file that motion, we
probably won’t object to a continuance if the court hears that motion to

suspend Mr. Kern and he is in fact suspended from office”
and Judge Ed Stein concluding:

“T am going to continue your trial and I will hear the Commonwealth’s

motion they say they are going to file...on the 25" of August 9:00AM. ..if

you’re going to have counsel by then that is fine, if you don’t have

 

counsel, we will probably do it anyway”

The Commonwealth of Virginia in a retaliatory response to the respondents

constitutionally protected right of speech, redress, and due process in filing a
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motion for continuance on August 10 2021 filed a motion to suspend the
respondent from the Alleghany County School Board on August 13 2021. Which
was a successor of the petition filed on December 2 2020 by the Board which was
also filed in retaliation. The petition filed on December 2 2020 if it had not been

filed, the August 13 2021 motion would also not be filed.
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VII. FEDERAL JURISDICTION FAVORED

The respondent would like to make the court aware that the following are
additional reasons the respondent has a preference of the United States District
Court over the Alleghany County Circuit Court including but not limited to:

Due process with an impartial Judge and Commonwealth Attorney
The Commonwealth Attorney is charged with

Protecting the constitutional and legal rights of both those accused of
committing crimes and well as victims of crime

Witness of injustice, a violation of procedural law, or a violation of

someone’s rights, they must take action and do what’s right to rectify the
situation

The Commonwealth of Virginia has ignored these tenets of office
Best interest of justice

The respondent is schooled as an Enrolled Agent in navigating jurisprudence
involving the United States Code therefore increasing access to due process

The United States District Court provides waivers reducing litigation costs
therefore increasing access to due process

The United States District Court offers appointment of counsel in civil cases for
qualifying parties affirmed on October 1 2018. The respondent requires counsel.

Federal procedure is more advantageous and efficient therefore increasing access
to due process

The respondent will face extreme prejudice if current venue remains in the
Alleghany County Circuit Court
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IX. DECLARATION

I do hereby consent to this action to remove case CL20-827 from the Alleghany
County Circuit Court in Alleghany County Virginia to the United States District
Court for the Western District of Virginia, Roanoke Division and retain

jurisdiction and further relief as is just and I certify that the foregoing is true and

correct on this the | 9 day of September 2021

 
      
    

LO

Donnie’ /\.M- Kern, Pro Se

115Church Street
lifton Forge, Virginia 24422
quilltaxation(@gmail.com

540-958-4958

CERTIFICATE OF SERVICE

I certify that a true and exact copy of the foregoing along with exhibits and a
red/black jump drive was personally delivered to:

Honorable Debra N. Byer,

Alleghany County Circuit Court Clerk
PO Box 670

Courthouse

266 West Main Street

Covington, VA 24426-0670

dbyer(@@vacourts. gov
on this the “7 — day of September 2021
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I certify that a true and exact copy of the foregoing along with exhibits and a
red/black jump drive was mailed via the United States Postal Service, and in part
via electronic mail to:

Attorneys for Petitioner

Patrick Jensen

Chief Dupty Commonwealth’s Attorney
County of Montgomery

55 E. Main Street., Ste 2B
Christiansburg, Virginia 24073
jensenpr@montgomerycountyva.gov

540-382-5705

OR/

Jim H. Guynn, Jr.

Guynn, Waddell, Carroll & Lockaby, P.C.
415 S. College Avenue

Salem, Virginia 24153
jimg(@guynnwaddell.com

540-387-2320

on this the /@ day of September 2021

  
 
  

-M. Kern, Pro Se
Respondent
5 Church Street

Clifton Forge, Virginia 24422
quilltaxation@gmail.com
540-958-4958
 

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EXHIBIT A
ENCLOSURES
CASE CL20-827-Alleghany County Circuit Court

True and correct copies of all process, pleadings and orders served in this action

that were made known and in the possession of the respondent required under 28
U.S.C. §1446(a)
